     Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 1 of 71 PageID #: 1



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NEW YORK



COMMODITY FUTURES TRADING
COMMISSION,

                     Plaintiff,
                                                                  MISC. ACTION NO.
V.



MARCUS TODD BRISCO,YAS CASTELLUM                       §
LLC,YAS CASTELLUM FINANCIAL LLC,TIN
QUOC TRAN,FRANCISCO STORY,FREDIRICK
                                                       §
                                                       §
                                                               File Date: February 17, 2023
SAFRANKO,a/k/a TED SAFRANKO,SAEG                       §       Case Number: 23-mc-491
CAPITAL GENERAL MANAGEMENT LP, and                     §
MICHAEL SHANNON SIMS,                                  §
                                                       §
                     Defendants,                       §



                      NOTICE OF APPOINTMENT OF RECEIVER

        Pursuant to the provisions of 28 U.S.C. § 754, Kelly Crawford provides notice of his

appointment as Temporary Receiver for Marcus Todd Brisco, Yas Castellum LLC, Yas

Castellum Financial LLC, Tin Quoc Tran, Francisco Story, Fredirick Safranko, a/k/a Ted

Safranko, Saeg Capital General Management LP, and Michael Shannon Sims (collectively,

"Defendants"), and the affiliates or subsidiaries owned or controlled by Defendants. True and

correct copies of the Complaintfor Injunctive Relief Civil Monetary Penalties, Restitution, and

Other Equitable Relief(the "Complaint") filed by the Plaintiff, Commodity Futures Trading

Commission, and the Order Granting Plaintiff's Motion for An Ex Parte Statutory Restraining

Order, Appointment of a Temporary Receiver, and Other Equitable Relief (the "Order

Appointing Receiver") are attached hereto as Exhibit A and Exhibit B respectively.

February 13, 2023




Notice of Appointment of Receiver                                                       Page 1
  Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 2 of 71 PageID #: 2




                                        Respectfully submitted,


                                        /s/Kelly M. Crawford
                                        Kelly M. Crawford
                                        Texas State Bar No.05030700
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                                        500 N. Akard Street, Suite 2700
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Notice of Appointment of Receiver                                         Page 2
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 3 of 71 PageID #: 3




                    EXHIBIT A
      Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 4 of 71 PageID #: 4
      Cadle 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 1 of 48
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          ALISON B,WILSON(Attomey-Jn-Charge^pro hoc vice pending             United States Coufts
         SEAN HENNESSY,pro hoc vice pending                                Southern District of Thxas
         Attorneys for PlaintlGf                                                  FILED
         COMMODITY FUTURES
         TRADING COMMISSION                                                  JAN 3 0 2023
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         awilson@cftc.gov
         sh6iinessy@cftc.gov

                                    TEE UNTIED STATES DISTRICT COURT
                                   FOR TEE SOUTHERN DISTRICT OF TEXAS




           COMMODITY FUTURES
           TRADING COMMISSION,

           Plaintiff,                                   Civil Case No.


                         V.

                                                       COMPLAINT FOR INJUNCTIVE
           MARCUS TODD BRISCO,YAS                      RELIEF,CIVIL MONETARY
           CASTELLUM LLC,YAS CASTELLUM                 PENALTIES,RESTITUTION,AND
           FINANCIAL LLC,TIN QUOC TRAN,                OTHER EQUITABLE RELIEF
           FRANCISCO STORY.FREDIRICK
           SAFRANKO,a/k/a TED SAFRANKO,
           SAEG CAPITAL OTNERAL
           MANAGEMENT LP,and MICHAEL
           SHANNON SIMS,

           Defendants.




                               COMPLAINT FOR INJUNCITVB RELIEF,CIVIL MONETARY
                              PENALTIES,RESTITUTION AND OTHER EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 5 of 71 PageID #: 5
Ca^ 4:23-cv-00336 *SEALED*          Document 1 Filed on 01/31/23 in TXSD Page 2 of 48




           Plaintiff Commodity Futures Trading Commission C*Commission"),by and througji its
    attom^s,alleges as follows:
                                           L     SUMMARY

           1.     From at least April 2020 through the present(the'TRelevant Period"),Marcus Brisco
    C*Brisco"), Yas Castellum LLC C*Yas 1"), Yas Castellum Financial LLC C*Yas 2"),Tin Tran
    CTran"),and Michael Sims C*Sims"),operated three interconnected fi^udulent schemes in which
    h^solicited and/or accepted funds,from individuals and entities who are not eligible contract
    participants("ECPs"),as defined by Section la(18)ofthe Commodity Exchange Act("Act"),7
    U.S.C.§ la(18),purportedly to trade leveraged or margined retail foreign currency exchange
    ("forex")and leveraged or margined gold-U.S. dollar pair('"XAUUSD")transactions("retail
    commodity transaction^. In fact, Yas 1,Yas 2,Brisco,and Tran did not send any funds to a firm
    that trades forex or XAUUSD. Instead, nearly all ofthe funds were directed to commodity pools
    controlled and operated by Tran (collectively,the"Tran Pools" and individually."Tran-Pool 1",
    *Tran-Pool 2",and"Tran-Pool 3"),and Tran,Yas 2,and Brisco misappropriated a portion ofthe
    funds for other purposes.

           2.      In the first ofthe three schemes, which operated from at least October 2020 to May
    2022,Yas 1 and Brisco,the firm's CEO,fraudulently solicited prospective pool participants("Pool
    Participants")to transfer funds to Yas 1 for the ostensible purpose ofparticipating in a purported
    Yas 1 commodity pool. Among other tilings, Yas 1 and Brisco made material misrepresentations
    fltid omissions r^arding where they would maintain Pool Participantfunds,how they would trade
    with those funds,and who would do tiie trading. They also provided prospective Pool Participants
     with false information about Yas 1's historical trading profits. Based upon these material
     misre>i^^ntations and omissions, at least43 Pool Participants transferred no less than $470,780 to
     Yas 1 to participate in its purported commodity pool. However,Bnsco did not direct any Pool
                                                     -2-
       COMPLAINT FORINJUNCnVE RELIEF,CIVIL MONETARY PENALTIES,RESTntmON,AND OTHER
                                             EQUITABLE RELIEF
 Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 6 of 71 PageID #: 6
Cafte 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 3 of 48




   Participant fimds to a firm that trades forex or XAUUSD or maintain funds in a Yas 1 commodity
   pool         as promised, hnstead, unbdcnownstto Yas l*s Pool Participants,Bnsco transferred
   most ofthe Pool Participantfunds to the Tran Pools and a small portion to anoth^finn(Tuiported
   Trading Firm 2"). Brisco did so atdie direction and with the assistance ofMike Sims C*Sims^,his
   brother-in-law and the purported CEO ofthe firm diat was supposed to trade on bdialfofYas 1
   ("Purported Trading Firm 1"). Sims was aware that these Pool Participant funds were supposed to
   be used to trade forex or XAUUSD. Sims instructed Brisco to disguise the transfers as payments

   for"services"so the scheme would not be discovered. To further conceal the scheme,Yas 1
   provided Pool Participants widi false weekly account statements created by Brisco thatshowed their
   purported trading profits. In addition,Yas 1 did not set up the commodity pool or receive pool
   funds in the manner required fay Commission Regulations.
          3.      The second fiaudulent scheme began in the wake ofa March 2022 examination by
   the National Futures Association("NFA"),which identified "serious concerns" aboutYas I's"lack
    ofoversi^t and control ofinvestor funds." In response,Brisco told the NFA that Yas 1 was
    ceasing operations. However,without noti^dng the NFA,Brisco relaunched Yas 1 as a new entity,
    Yas 2,and created a new purported commodity pool. Brisco told prospective Pool Participants that
    Yas2 would use the same brokers,platform,and trading strategies as Yas 1. From June 2022 to
    present,Yas2and Brisco,while acting in an unre^tered capacity,fiaudulently solicited
    prospective Pool Participants using many ofthe same misrepresentations and omissions as Yas 1,
    including by falsely stating that Yas 2 would use Pool Participant funds exclusively to trade
    XAUUSD on a leveraged or margined basis. Based on these material misrepresentations and
    omissions,at least 57Pool Participants transferred no less than $1,585,261 to participate in Yas2s
    purported commodity pool. However,Yas2 misappropriated Pool Participantfunds by transferring
    most ofthe funds to Tran-Pool 3,and none were directed to a firm that trades XAUUSD, Brisco

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       COMPIAINTFORINnJNCnVE RELIEF,cam MONETARY PENALTIES,RESTXTUTION,AND OTHER
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Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 7 of 71 PageID #: 7
Cajie 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 4 of 48




    also misappropriated Pool Pardcipantfunds by paying himselffor purported trading profits that did
    not exist Additionally, Yas 2did not set iq> the commodity pool or receive poolfunds in the
    manner required by Commission Regulations.
           4.     Tran operated a third fraudulent scheme from at least April 2020 to presentthrough
    \riiich he directly accepted frinds intended for trading fbrex or XAUUSD into one ofthe Tran Pools
    that he controlled. During the RelevantPeriod,Tran accepted at least $144,043,883 from no less
    than 913 Pool Participants at leastsome,ifnot all,ofwhich was intended for trading forex or
    XAUUSD(vdiich includes $1,448,328 transferred to the Tran Pools by Brisco for Yas 1 and Yas2)
    However,Tran did not send any Pool Participantfunds to a firm that trades forex or XAUUSD.
            he misappropriated some ofthe Pool Participant funds by using diem to pay invoices,
    unrelated individuals,repay a ^'loan",and to subsidize his unrelated businesses. Tran also
    commingled pool fiinds with non-pool property in bank accounts that he controlled.
           5.      To conceal Tran's scheme from regulators,Francisco Story("Story")and Ted
    Safianko("Safranko"),in their roles as directors and officers ofSAEG Capital General
    ManagementLP("SAEG GM"),knowingly submitted felsified bank statements to the NFA for
    Tran-Pool 1 accounts during an examination ofSAEG GM. Safranko and Story described die Tran-
    Pool 1 accounts as operational accounts that contained seed capital for SAEG GM which die firm
    used to pay invoices. Further,they identified Tran as a business associate who helped them with die
    operational and organizational setup for SAEG GM,and provided seed funding to the firm. Story
     and Safranko altered Tran-Pool 1's bank statements to, among other tilings, omit more than one
     million dollars ofdeposits in Tran-Pool 1's accounts that were made for the purpose oftrading
    forex or XAUUSD.




                                                    -4-
       COMPLAENT FORINIUNCTTVE RELIEF,CIVIL MONETARY PENALTIES,RESTITUTION,AND OTHER
                                             EQUITABLE RELIEF
 Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 8 of 71 PageID #: 8
Cadk 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 5 of 48




           6.      By virtue of    conduct and the conduct fiirther described herein.Defendants have
    engaged,are engaging,or are about to engage in acts and practices that violate the follo^g
    provisions ofthe Act and Commission Regulations ^Regulations"):
                a. Yas 1 and Brisco,violations of:
                           i. 7U.S.C.§§6b(a)C2KAHC)and6o(l)(AHB)';and
                          ii 17 CJFJl. §§4.20(aXl)and(b)-(c)and 5^(bXlH3)0022)';
                b. Yas 2and Brisco,violations ofi
                           i. 7U.S.C.§§6b(a)0)(A)and(C),6o(lXA)-(B),6k(2)',and 6m(l)^ and
                          ii. I7CJJl.§4.20(aXl)and(b);

                c. Tran,violations of:
                           i. 7 U.S.C. §§ 2(o)0XCXiiiXX)(co)',6b(a)0XA)and(Q,6o(l)(A)-(B).
                              and 6m(l); and
                          ii. 17 C.FJI.§§ 4.20(0),5a(b)(l)and(3). and 5.3(a)0)« 0022);
                d. Sims,violations of:
                           i. 7 U.S.C.§§6b(a)(2)(AHC)and 6o(l)(A)-(B);and
                          ii 17CJJL§5.2(b)(l)-(3);

                e. SAEGGM,Story,and Safianko,violations of:
                           I 7U.S.C.§13(a)(4)l
           7.       At all times during the Relevant Period,the acts and omissions ofBrisco were
                within tiie scope ofhis emplojmi^t,agency,or oftice witii Yas 1 and Yas 2;and the acts
    and omissions ofStory and Safianko were committed witiiin tiie scope oftheir employment,
    agency,or office with SAEG GM Therefore,pursuant to Section 2(a)(1)(B)ofthe Act,7U,S.C.
    §2(a)(1)(B), and Regulation 12,17 CJ.R.§ 1,2(2022),Yas 1 and Yas 2 are liable as principals for




            Sections 4b(a)(2)(A)-(C),4o(l)(AHB)ofthe Act
            Regulations 4,20(a)(l),^)-(c),and 5.2(b)(l)-(3)(2022).
            Section 4k(2)of Act
            Section 4m(l)ofthe Act
            Section 2(c)(2XC)(iii)(IXcc)ofthe Act
            Regulation 53(a)(2)(2022).
            Section 9(a)(4)ofthe Act
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       COMPLAINTFORINIUNCTTVE RELIEF,CIVIL MONETARYPENALTIES,RESTTTirnON,AND OTHER
                                             EQUrrABUB RELIEF
 Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 9 of 71 PageID #: 9
Caie 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 6 of 48




    he actions and omissions ofBrisco in violation ofdie Act;and SABG GM is liable as a principal

    br the actions and omissions ofStory and Safranko in violation ofthe Act.

           8.      At all times during the Relevant Period,Brisco was the controlling person ofYas 1
    and Yas 2;and Story and Sa&anko wwe controlling persons ofSAEG GM. Therefore,pursuantto
    Section 13(b)ofdie Act,7 U.S.C.§ 13c(b),Brisco is liable for the actions and omissions ofYas 1
    and Yas 2in violation ofthe Act;and Story and Safianko and are liable for the actions and
    omissions ofSAEG GM in violation ofthe Act.

           9.      Unless restrained and enjoined by this Court,Defendants will likely continue to
    engage in the acts and practices alleged in this Complaint,or in similar illegal acts and practices.
    Accordingly,the Commission brings this action pursuant to Sections 2(c)(2)(C)and 6c ofthe Act,
    7 U.S,C.§§ 2(c)(2)(C)and 13a-l,to enjoin Defendants* unlawful acts and practices and to compel
    their compliance with the Act and the Regulations promulgated th^under.
           10.     In addition,the Commission seeks civil monetary penalties, restitution, and remedial
    ancillary relief,including but not limited to,trading and registration bans,disgorgement,rescission,
    pre- and post-judgment interest, and other reliefas the Court may deem necessary and appropriate.
                                 n.     JDRISDlCnON AND VENUE

            11.    This Court hasjurisdiction over this action pursuantto 28 U.S.C.§ 1331 (federal
    questionjurisdiction)and 28 U.S.C.§ 1345 Q^roviding that U.S.district courts have original
    jurisdiction over civil actions commenced by the United States or by any agency expressly
    authorized to sue by Act ofCongress). In addition. Section 6c(a)oftte Act;7 U.S.C.§ 13a-l,
    provides that the U.S.district courts havejurisdiction to hear actions brought by the Commission
    for injunctive reliefor to enforce compliance with the Act whenever it shall appear to the
    Commission that a person has engaged,is engaging,or is about to engage in any act or practice
    constituting a violation ofany provision ofthe Act,or any rule, regulation,or order thereunder.
                                                      -6-
       COMPLAINT FORINJUNCTIVE RELIEF,CIVIL MONETARY PENALTIES,RESTITUTION,AND OTHER
                                              EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 10 of 71 PageID #: 10
Cafe 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 In TXSD Page 7 of 48




           12.     Section 2(c)C2)(C)offte Act,7 U,S.C.§ 2(c)(2)(C), gives tfie Commission
     urisdiction over the forex solicitations and transactions at issue in this action and subjects those

    solicitations and transactions to,inter cdia. Sections 4b and Ao ofthe Act;7 U.S.C.§§ fib,fio.
    Similarly, Section 2(c)(2)(D)ofAe Act,7 U,S.C.§ 2(c)(2)(D) gives the Commissionjurisdiction
    over tiie retail commodity solicitations and transactions at issue in this action and subjects those
    solicitations and transactions to,inter alia,7U.S.C.§ fib.

            13.    Venue properly lies with this Court pursuant to Section fic(e)ofthe Act,7 U.S.C.
    § 13a-l(e),because Defendants reside in,transact,or transacted business in this District,and certain
    transactions, acts,practices, and courses ofbusiness alleged in this Complaint occurred,are
    occuiring, or are aboutto occur In tiiis District
                                          m.      TRff.PARTIES
        A. Plaintiff

            14.     PlaintiffCommodity Futures Trading Commission is an independent federal
    regulatory agency charged by Congress with the responsibility ofadministming and enforcmg the
    provisions ofthe Act,7 U.S.C.§§ 1-26,and the Commission's Regulations promulgated
    thereunder, 17 CJ.R.pts. 1—190(2022).

        B. Defendants

            15.     Defendant Marcus Todd Brisco is a resident ofWailuku,Hawaii. From December

    4,2020 to May 4,2022,Brisco was registered with the Commission as an Associated Person
     C'AP")ofYas 1,and he was also a Principal ofYas 1.
            16.     Defendant Yas Castellum LLC is a limited liability company that was formed in

     Colorado on October 21,2020,and had a principal oftice in Denver,Colorado. Bnsco is the CEO
     and sole member ofYas 1. From December 4,2020 to present,Yas 1 has been registered with the
     Commission as a Commodity Pool Operator("CPO"),and feom March 29,2022to August 18,


                                                        -7-
        COMPLAINTforINJUNCnVE RELIEF,CIVIL MONETARYPENALTIES,RESHTUTICN,AND OTHER
                                               EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 11 of 71 PageID #: 11
CaSe 4:23-cv-00336 *SEALED* Document 1 RIed on 01/31/23 in TXSD Page 8 of 48




    2022,Yas 1 was listed as an approved forexfinnwitii the NFA. Yas 1 has no odier prior
    leg^stiation histoiy wilfa the Commission.

           17.    Defendant Yas Castellom Financial LLC is a limited liability company formed in

    Hawaii on June 2,2022,that has a principal office in Wailuku,Hawaii. Brisco is the CEO and
    manager ofYas 2. Yas 2 has never been registered with the Commission.
           18.     Defendant Tin Qnoc Tran is a resident ofKaty,Texas. On March 27,2020,Tran
    filed an application with NFA to be listed as aPrincipal ofSAEG Capital Limited("SAEG Ltd."),
    but he withdrew his application on April 8,2020. SAEG Ltd. became a registrant on September 8,
    2020,and the name ofthe registrant was later changed to SAEG Capital General ManagementIP.
    Tran has no odier prior registration history with the Commission. In October 2014,Tran was
    convicted in a Mississippi court offelony possession ofa controlled substance with intent to
    distribute.

            19.    Defendant Francisco Story is a resident ofDraper, Utah. From September 8,2020
    to present. Story has been registered with the Commission as an AP ofSAEG GM,and from May 6,
    2020 to present,Story has been a Principal ofSAEG GM.
           20.     Defendant Fredirick Safranko,a/k/a Ted Safranko,is a resident of Vancouver or

    Ontario,Canada. From August 7,2020 to present,Safranko has been a Principal ofthe SAEG GM.
            21.    Defendant SAEG Capital General ManagementLP is a limited partnership
    formed in Delaware on August 31,2020,with a business address in Draper,Utah. Safranko is the
    CEO,ChiefCompliance Officer, and a Director ofSAEG GM. Story is the Investment Manager
    and a Director ofSAEG GM. Since September 8,2020,SAEG GM has been registered with the
    Commission as a CPO and listed with the NFA as an approved forex firm and swap firm. It was

    formerly registered imder the name SAEG Ltd.



                                                    -8-
       COMPLAINT FORINKJNCITVE RELIEF,CIVIL MONETARY PENALTIES,RESTITUTION,AND OTHER
                                             EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 12 of 71 PageID #: 12
Caie 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 9 of 48




           22.    Defendant Michael Shannon Sims is a resident ofeither Sunny Isles Beach,Florida

    or Roswell or Atlanta, Georgia. From January 24,2020 to present,Sims has been a Principal of
     uiported Trading Firm 1,an entity registered with the Commission as a CPO,Commodity Trading
    Advisor("CTA'O,and listed with the NFA as an approved forex firm. Sims has no other prior
    registration history with the Commission.
                                              IV.    FACTS

       A. YASTS AND BRISCO'S FRAUDULENT SCHEME

                  i      Yas I's awH Brfaco's Fraodnlent Solicitation

           23.    During die RelevantPeriod,Yas 1 marketed itselfthrough its website as a firm diat
    "operates as a CommodityPool Operator(CPO)by pooling cUents[']investments into an exclusive
    investment fund...that invests in Foreign Exchange(FOREX)."

           24.    Brisco directly,and Yas 1 through the acts ofBrisco,solicited prospective Pool
    Participants thmngh its website, emails,tel^hone calls, and by word ofmouth. To attract
    additional customers,Yas 1 paid Pool Participants referral fees,ranging from $500 to $1,000,
    should they bring in new customers.

           25.        Yas 1 provided prospective Pool Participants with a customer agreement(the ^'Yas 1
    PP Agreement,vriiich made detailed representations about where funds would be held,how fimds
    would be traded,and who would trade the fimds. Brisco sentthe Yas 1 PP Agreementto Pool
    Participants by email. Most,ifnot all.Pool Participants signed the Yas 1 PP Agreement,and Brisco
    countersigned as Yas Ts CEO and"CPO Account Manager."
            26.       Specifically,the Yas 1 PP Agreement represented that Pool Participant fimds would
     be: (1)maintained in a Yas 1 commodity pool account^(2)used to "exclusively tiadeQ FOREX
     with a"Conservative" or"Aggressive"strategy; and(3)stated that die fund would be **brokered by"
     or"monitored by"a purported third-party trading firm,which,accor<hng to at least two versions of

                                                      -9-
       COMPLAINT FORINJUNCTTVE RELIEF,CIVIL MONETARY PENALTIES,RESTTTUTION,AND OTHER
                                               EQUITABLE REUEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 13 of 71 PageID #: 13
Cas ! 4:23-cv-00336 *SEALED*
                         Document 1 Filed on 01/31/23 in TXSD Page 10 of 48




    1 he agreemrat, was **CPO and CTA Certified since 2015'*. The earliest version ofthe Yas 1PP
    Agreement,signed by one Pool Participant on November 2,2020,stated that the fund would be
    ''monitored by[Purported Trading Firm 2]." All subsequent Yas I PP Agreements signed byPool
    Participants referenced Purported Trading Firm 1. The Yas 1 PP Agreement also represented that
    Yas 1 had Wstorically made large profits—"10.95% ROI[Return on Investment] per month average
    in [the] previous 12 months" as ofFebruary 2022.

           27.     According to the Yas 1 PP Agreement,the"Conservative"strategy"grades FOREX
    (Foreign Exchange)such as USDEUR,EURAUD,EURCAD",while the"Aggressive* strategy
    «[t]rades FOREX but exclusively the gold standard to USD(XAUUSD)." Prior to October 2021,
     Yas 1 claimed that it allocated Pool Participant funds to both the "Conservative" and"Aggressive"
    trading strategies. From October 2021 onward,Yas 1 claimed that 100% ofPool Participantfiinds
     were allocated into the"Aggressive"strategy to trade XAUUSD.

            28.    Yas 1 and Brisco represented to Pool Participants that they were trading forex and
     XAUUSD on a leveraged or margined basis. For example,the Yas 1 PP Agreement advised Pool
     Participants that Yas 1 was"trading financial instruments on margin" with a"hi^ degree of
     leverage". Similarly,in an October 31,2021 email to a Pool Participant,Brisco said the
     "Aggressive"strategy used"high risk/hi^ margin trading."
            29.     Yas 1 made similar representations in other solicitation materials. For example,in
     an ef»gil sentto prospective Pool Participants,Brisco stated that Yas 1 "collects individual
     investments,pools fiiem togedier,and directs them to"Purported Trading Firm 1 for trading.
     Brisco attached Purported Trading Firm I's NFA membership profile to this solichafion email. In
     another solicitation enuul sent to at least one prospective Pool Participant,Brisco represented that
     "[a]ll fimds are given to my brodier in laws[sic]investment company who brokers the trades
     exclusively in Forex(Foreign Exchange)Maricet"

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        COMPLAINT FOR INJUNCIIVERELIEF,CIVIL MONETARY PENALTIES,RESTITUTION,AND OTHER
                                              EQUITABLE RELIEF •
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 14 of 71 PageID #: 14
Cas 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 11 of 48




             30.    Brisco also distributed a promotional video to solicit Pool Participants. In the video,
      ! Brisco identified himselfas the founder ofYas 1,vdiich he described as a"CPO entity"that

      provides''pooled funds"to"a private broker fiind"—identified by Brisco in the distribution email
      as Purported Trading Firm 1—to trade Pool Participants'funds. Brisco identified Sims as his
      brotiier-in-law and tiie CEO and co-founder ofthe "private brokerfund." The video contained an
      interview ofSims,which Brisco said would give Pool Participants"an idea ofthe caliber ofperson
      that it is going to be handling and trading your funds." During a segment ofSims' interview,tiie
      video displayed the following cation:"Die next4 minutes describes the trader and fimd that Yas
      Castellum participates in." During thatsegment,Sims said Yas I's trader is"on anotiier level"and
       is pushing a hundred million dollars." The video concluded by showing purportedly live trades of
      XAUUSD         occurred in what Brisco claimed was"Yas Castellum's[Yas I's]account"
             31.     The statements detsuled in paragraphs 25 to 30 are fidse. As set forth more fully
      below, Yas 1 and Brisco did not: maintain Pool Participant funds in a Yas 1 commodity pool
      account;transfer Pool Participant fiinds to any firm that tradesforex or XAUUSD;and neither
      Purported Trading Firm 1,Purported Trading Firm 2,nor Sims made any trades for Yas 1,making
      it impossible for tiie stated ROI from trading forex or XAUUSD to be true, indeed.Purported
       Trading Firm 1 and Purported Trading Firm 2had no trading activity for any customers during the
       Relevant Period. Moreover,despite his repeated claims abouttiie role ofPurported Trading Firm 1,
       Brisco recanted these claiins and admitted that Yas I's purported commodity pool was"not an
       association with[Purported Trading Firm 1]." Additionally,Yas 1 did not have a trading account at
       the time that Brisco distributed the promotional video and touted Yas 1's purported trading returns
       to prospective Pool Participants. In fiict, until approximately April 10,2022 approidmately one
       month aftfty he began distributing the promotional video,and at least 16 months after he began


                                                      -11-
          COMPLAINTFORINIUNCnVE RELIEF.CIVIL MONETARYPENALTIES,RESTITUnON.AND OTHER
                                               EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 15 of 71 PageID #: 15
Cas 3 4:23-cv-00336 *SEALED*        Document 1 Filed on 01/31/23 in TXSD Page 12 of 48




    soliciting and accepting funds for Yas 1,Brisco only purported to maintain a personal,not a Yas 1,
    trading account at an off-shore trading company("OfP-Shore Trading Firm").
            32.    Based upon Yas 1*s and Brisco's material misrepresentations and omissions,at least
    43PoolPatdoipante dqiosited approximately $470,780 into Yas I's accountfor Ha purpose of
    investiiig in the commodiQr pool to trade fbiex or XAUUSD on a levaaged or margined basis.
            33.    On mfemiirinn and belief some ifnot all ofthe Yas 1 Pool Participants ate not
    ECPs.

                  it WaWigr Bi-faon Nor Yas 1 Piref«»H Ihiiiilg To Any Firm ThatTrades gois
                      g.Y Aimgn.and Sims Aided and Abetted Brian's and Yas I's Fraudnlent
                       Scheme


            34.    During the RelevantPeriod,rather than sending Pool Participants' fimds to any firm
    thattrades forex or XAUUSD,as they had represented they would,Yas 1,through the acts of
    Brisco,sent most ofthe Pool Participantfunds to bank accounts ofconunodity pools controlled by
    Iran,and a small portion to Purported Trading Firm 2. Sims helped fecilitate this scheme by,
    among other things,directing Brisco about where and how to wire fimds and by instructing Brisco
    to disguise the transfers as payments for"services"so the scheme would not be discovered. Sims
     did so with knowledge that Yas I's Pool Participant funds were intended to be used to trade forex or
     XAUUSD.

            35.     Upon receiving Pool Participant deposits,Brisco would contact Sims1^ text
     message to teUlum that he received Yas 1 Pool Participantfimds intended for trading,and askfor
     instructions about where to wire the fonds. AtaU times during tiie RelevantPeriod,Siins instructed
     Brisco about which entity and account should receive Yas I's Pool Participant fimds. During the
     RelevantPeriod,Brisco sent $394,679 received by Yas 1 to Purported Trading Finn 2and/or tiie
     Tran Pools. As further detailed below,Brisco keptor spent the remaining Pool Participantfimds.


                                                    -12-
        COMPLAINT FORINIUNCTIVE RELIEF,CIVIL MONETARY PENALTIES,RESTITUTLCN,AND OTHER
                                             EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 16 of 71 PageID #: 16
Cas    4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 In TXSD Page 13 of 48



             36.    Initially, upon information and belief,Sims instructed Brisco to wire Pool Particii^t
      iinds to a bank account controlled by Purported Trading Firm 2. Bnsco told the NFA that
      Purported Trading Firm 2's name referred to"the conservative ^proach initially used from
      inception until October^ and that it was"managed by and through[Purported Trading Firm 1]."
      Similarly,Brisco told at least one Pool Participant that Purported Trading Firm 2's name was an
      abbreviation forPurported Trading Firm 1. Between November 18,2020 and April 20,2021,Yas
      ,through the acts ofBrisco,sent $25,000 ofPool Participantfunds to Purported Trading Firm 2.
             37.     Thereafter,Sims directed Brisco to send Pool Participant dqK)sits to one ofthe Tran
      Pools' bank accounts. Tran is the sole authorized signatory on all offoe accounts that received Yas
      I's Pool Participant funds. Sims initially directed Brisco to send funds to Tran-Pool I's account
      ending in *2712 at The First bank. Between July 21,2021 and December6,2021,Yas 1,throu^
      foe acts ofBrisco,sent $34,000 in Pool Participantfunds to the Tran-Pool 1 *2712 account
              38.    Subsequently,Brisco and Sims diverted Yas 1's Pool Participant frmds to other Tran-
      controlled bank accounts. On September 3,2021,when Brisco notified Sims that he had received
       another $7,000 ofPool Participant fimds,Sims provided "[u]pdated instructioiis" that directed
      Brisco to send Pool Participant funds to Tran-Pool 2*s *3504 account at Hie First bank with a
       memo noting payments were for"Services." Between September 8,2021 and January 27,2022,
       Yas 1 through foe acts ofBrisco,sent $286,179 to foe Tran-Pool 2*3504 account,at least some of
       which was Pool Participant funds.

              39.     Sims appeared to understand that these num^ous Yas 1 money transfers to foe
       various Tran Pool accounts could raise bank red flags,and he took steps to avoid bank scrutmy. For
       instance,on December 16,2021,Brisco asked Sims ifhe could wire $5,000 in Pool Participant
       funds to Tran-Pool 2and Sims responded fiiat he could notsend that amount because foe "[b]anks
       ti^ton us." On February 10,2022,Sims told Brisco that foe"wire info is changing"and he
                                                      -13-
          COMPLAINT FORINJUNCTIVE RELIEF,CIVIL MONETARY PENALTIES,RESTirUTION,AND OTHER
                                               EQUITABLE REUEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 17 of 71 PageID #: 17
CaSe 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 14 of 48



    subsequently directed Brisco to send funds to Tran-Pool 3*s *4669 account at Allegiance Bank.
    Sims further directed Brisco to adhere to the following instruction; "[i]n the memo or when they
    ask you what ifs for put'services' Nothing aboutinvestment/trading/hedge fimd." Between
    February 24,2022 and March 14,2022,Yas 1,through the acts ofBrisco,sent$49,500 in Pool
    Participant hinds to the Tran-Pool 3*4669 account
           40.      Brisco spent or kept the remaining $76,101 in Pool Participantfunds that was not
   I sentto Purported Trading Firm 2or tiie Tran Pools. For example,after March 14,2022,which was
    the date ofthe last transfer by Yas 1 to the Tran Pools, Yas 1 received an additional $46,160 fiom
    eightPool Participants(five ofwhom had no prior deposits). None ofthese funds was sentto any
    I firm thattradesforex or XAUUSD.or to Purported Trading Firm 2or the Tran Pools. Instead,Yas
    j 1 used the $46,160 in Pool Participantfunds to,among other things,subsidize an unrelated business
    I owned by Brisco and make aPonzipaymentto a differentPool Participant that did not depositthese
    Iftmds.

              41. Yas 1 sentPool Participants'fundsto Purported Trading Firm 2and the Tran Pools
    I even thou^: Brisco admitted that he never communicated with these entities; Yas 1 had no
     agreements witii tiiese entities regarding the management or trading ofPool Participantfunds;and
     Yas 1 never told Pool Participants that their funds would be deposited with these oitities.
     Moreover,neitiier Sims norPurported Trading Firm 1—who were supposed to be trading for Yas
     1—owned or controlled the entities or accounts that received Yas I's funds.
              42. Brisco cl^ed to theNFA that Yas I's Pool Participantfunds ended up in apersonal
     trading account(not a Yas 1 account)that he purportedly established at Off-Shore Trading Firm.
     I Brisco purportedly opened the personal accountat Off-Shore Trading Firm on July 24,2021 more
      than 8 months after he began solidting and receiving Pool Participant funds. However,Yas 1 did
      notsend anyPool Participantfunds directly to Off-Shore Trading Firm. Furthermore,Purported
                                                     -14-
        COMPLAINTFORINJUNCTIVE RELIEF,CIVIL MONETARY PENALTIES,RESTITUTION,AND OTHER
                                              EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 18 of 71 PageID #: 18
Ca5 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 15 of 48




      Trading Finn 2 and the Tran Pools made no transfers to Off-Shore Trading Firm or any other
      trading firm during the Relevant Period

             43.     In addition to appearing in the promotional video that Yas 1 used to solicit Pool
      ! Participants and directing Brisco about where to send PoolParticipant &nds and how to disguise the
      1 ransfers as paymrats for "sCTvices",Sims took actions to &cilitate Yas l*s scheme. Suns,i^on
      information and belief, also provided Brisco with confidential and prcq)rietary informadon about
       •mported Trading Firm 1 that Brisco used to mislead Pool Participants into thinking that Purported
      Trading Firm 1 was trading funds for Yas 1. For example,Brisco distributed a "Confidential
      Private Placement Memorandum and Disclosure Documents(the"PPM")for a fund ofPurported
      Trading Firm 1 as evidence ofthe sig)posed involvement ofPurported Trading Firm 1 wifii Yas 1.
      ThePPM stated that the fund "operate[s] as a private investmentfund" that"seek[s]capital
      appreciation through speculative trading in...over-the-counter foreign currencies,or Forex,and
      commodity fiitures." The PPM identified Purported Trading Fum 1 as the "Managing Membw* of
      the fund,and identified Sims as one ofthe principals. Additionally,Brisco told at least one Pool
      Participant fiiat he ran Yas 1 "in conjunction with"Sims.
                    lit      Yas 1 Provided Pool Partjcinants With False Account Statements

              44.     During the RelevantPeriod,Yas 1,through Brisco,prowded Pool Participants with
      falsified weekly statements showing their account balance value and purported trading returns.
      Each weekly statement had an individual PoolParticipant's name on it Brisco prepared these
       weekly statements and distributed the statements to Pool Participants by email.
              45.         More than one Yas 1 Pool Participant notified Brisco that their weekly statements
       contained conflicting information or inaccuracies. In response,Brisco attributed these issues to
       clerical errors.




                                                          -15-
          COMPLAIOTFORINJUNCnVE RELIEF,CIVIL MONETARY PEKAL*nES,RBSlTrUTION,AND OTHER
                                                   EQinTABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 19 of 71 PageID #: 19
Caj B 4:23-cv-00336 *SEALED*
                          Document 1 Filed on 01/31/23 in TXSD Page 16 of 48




           46.        In addWon to tssuing the falsified weekly statements,Brisco advised at least one Yas

     Pool Participant in writing that his fiinds were making profits.

           47.        The profit r^iesentations made by Yas 1 and Brisco in the weekly statements and in
    other oral and written communications were fdse. As set forth above,there is no evidence that Yas

     transferred Pool Participantfunds to any firm fiiat trades forex or XAUUSD. Moreover,there
    were no trading accounts in Yas 1*s name or in any Pool Participant's name during the period when
    Brisco distributed these falsified weekly statements.

              48.     Based on the purported profits reflected in the weekly statements, at least one Pool
     'articipant made an additional deposit to Yas I's commodity pool.
                    iv.     Yas 1 Did Not Operate the Commodity PoolIn             Manner Reouircd Bv
                             Commission Regnlatiohs

              49.     During the RelevantPeriod,Yas 1 did not operate the purported commodity pool as
    a legal entity separate ftom the CPO(i.e., Yas 1),it did not receive Pool Participant funds in the
    name ofthe purported commodity pool,and commingled PoolParticipantfunds with Yas Ts otiier
    assets.


              50.     In October 2020,Brisco opened an account in the name ofYas 1 at Bank ofthe
    West,with an account number ending in *5971.
              51.     As part ofthe Yas 1PP Agreement,Brisco provided each Pool Participant with a
    *Tonn ofRequestfor Deposit" Through that document,Yas 1 instructed Pool Participants to make
    deposits by writing a check payable to "Yas Castellum LLC,"or by wiring funds into Yas I's
    *5971 account at Bank ofthe West

              52.         All ofthe Pool Participant funds that Yas 1 received during the Relevant Period were
     deposited into Yas 1's *5971 account In that account.Pool Participant funds were commingled
     with Yas I's non-pool assets.


                                                          -16-
       COMPLAINT FORINJUNCIIVE RELIEF,CIVIL MONETARYPENALTIES,RESTTTUTION,AND OTHER
                                                   EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document
Cas 5 4:23-cv-00336 *SEALED*
                                1 1
                          Document Filed 02/17/23
                                      Filed         Page
                                            on 01/31/23 in 20 of 71Page
                                                           TXSD     PageID #: 48
                                                                        17 of 20




           53.    In March 2022,the NFA initiated an examination ofYas 1 and Brisco. The NFA

    idaitified ^'serious concerns about Yas Castellum LLC's operations" and its "lack ofoversight and

    control ofinvestor fiinds."

           54.     Among other things, Brisco admitted that Yas 1 did not operate the commodity pool
    as a separate legal entiQr from the CPO,it did notreceive Pool Participant fimds in the purported
    conuncdity pool's name,and it commingled Pool Participantfunds with Yas 1's other assets.
           55.     In fact,Brisco told the NFA that he would take steps **to eliminate commingling"
    and operate the commodity pool as a s^xuate legal entity from the CPO. However,all ofthe steps
    tfllfftn by Yas 1 and Brisco occurred cfier Yas 1 had already received and commingled all ofdie
    Pool Participants' funds. For example,on April 8,2022—at least 16 months after began
    accepting Pool Participantfunds—Brisco notified the NFA that he hadjust created a new entity"to
    sqjarate the CPO from the Yas Castellum PooL" Shortly thereafter,Brisco attempted to open a
    bank accountfor the commodity pool entity, but die bank^ upon uiformation and belief never
    opened the account

           56.     During die examination,Brisco told the NFA that he would withdraw funds and
    offer the right ofrescission to Pool Participants. When Yas 1 received funds back that it used to
    repay Pool Participants,those funds did not ori^nate from OfFShore Trading Firm or any tradmg
    firm. Instead,the funds that Yas 1 used to repay Pool Participants were deposited in Yas I's
    account by a Canadian cryptocurrency business. Yas 1 never srat funds to that Canadian
    cryptocurrency business.

                  V.   Brisco Is a ControlWwff Person ofYas 1

            57.    Brisco is a controlling person of Yas 1. He is the CEO and sole member ofYas 1.
    He executed Pool Participant agreements for Yas 1 in his edacity as CEO and"CPO Account
    Manager." He was personally responsible for soliciting Pool Participants for Yas 1. He was also

                                                    -17-
       COMPLAINT FOR DOUNCTIVE RELIEF,CIVIL MONETARYPENALTIES,RESTITUTION,AND OTHER
                                             EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 21 of 71 PageID #: 21
CailB 4:23-cv-00336 *SEALED* Document 1 RIed on 01/31/23 in TXSD Page 18 of 48




   the sole source ofinfoimation for Pool Participants[egarding Yas 1,including infonnation about

   the status oftheir funds. Further, he controlled Yas 1's bank accounts into which Pool Particij^nts

   transferred funds.

                 vL      Brisco Acted as an Agentfor Yas X

           58.     The conduct described above,including the solicitation ofprospective and existing

   Pool Participants, distribution offelsitied account statement and communication with Pool
   Participants regarding their purported trading success on behalf ofYas 1,occurred within the scope
    ofBrisco's employment or oftice at Yas 1. Accordingly,Brisco acted as an agent Yas 1.
       B. Yas2's AND Briscx)'s Fraudulent Scheme

                 t       Yas 2*s and Brisco'a Fraudulent Solicitation

           59.     On May 4,2022,Brisco sent an email to the NFA stating titat Yas 1 "is ceasing all
    business operations and has submitted a request for withdrawn membership from the NFA." Brisco
    furtiier stated that Yas 1 *Svill not be operating further from this date" and he would be "leav[ingO
    financial services"for another career path.

           60.        On June 2,2022,less than one montii after telling the NFA that he was leaving the
    financial services industry,Brisco incorporated Yas 2in Hawaii to operate a new purported
    cnmmodity pool. Brisco is the CEO and manager ofYas 2. Brisco did not register Yas2 with the
    Commission in any edacity, nor is he registered in connection with Yas 2.
           61.        Contrary to his earlier statements—and without notifying the NFA ofhis intention to
    reorganize—on June 8,2022,Brisco sent an email to prospective Pool Participants,including at
    leastsome ofthe Yas 1 Pool Participants,informing them that"Yas Castellum's investmentfimd is
    being re(pened this weel^ with a new CPO,Yas 2. Brisco clmmed that Yas2"is not afitiliated with
    the TSIFA in any[]way." He fiirther stated that"[rjegarding the trading strategies,the same Brokers,



                                                      -18-
       COMPLAINT FORINJUNCTIVE RELIEF,CIVIL MONETARY PENALTIES,RESTITUTION,AND OTHER
                                               EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 22 of 71 PageID #: 22
Cale 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 19 of 48




   platform, and strategies will be used as previously," and cl^ed that "[t]his strategy had a 32% Net
    101 in April and a 26% Net ROI in May."

          62.     In that same email,Brisco provided prospective Pool Participants with a new

   customer agreement(the"Yas 2PP Agreement?*). Brisco asked prospective Pool Partic^ants to
   sign and return the Yas 2PP Agreement and depositfunds into Yas 2's bank account The Yas 2
    ?P Agreement was substantively similar to the Yas 1 PP Agreement,including with respect to
    where fiinds would be maintained, how hmds would be traded, and who would trade the hmds.
          63. In particular,the Yas2PP Agreement represented that Pool Participant funds would
    be; (1)maintained in a Yas2commodity pool account;(2)used to "exclusively [trade]the gold
    standard to USD(XAUUSD)";and(3)stated that funds would be traded by "private brokers." The
    Yas2PP Agreement also advised Pool Participants that Yas 2was"trading iBnancial instruments on
    margin" with a'liigh degree ofleverage". As setforth in detail below,these statements are felse.
            64.   Notably,the Yas 2PP Agreement also represented that Yas 2 had "[e]ntered [the]
    aggressive account[in]July 2021"and had a"10.95% ROI[Return on Investment]per month
    average in[die]previous 12 months." However,Yas 2was notformed until June 2,2022;thus,it
    did not enter the aggressive account in July 2021 and it did not have any trading returns in the prior
    twelve months.

            65.    To       based upon Yas 2's and Brisco's material misrqiresentations and omissions,
    at least 57 PoolParticipants have deposited no less than $1,585,261 with Yas 2for the purpose of
    investing in the commodity pool to trade XAUUSD on a leveraged or margined basis.
            66.    On information and belief,some ifnot all ofthe Yas 2Pool Participants are not
    ECPs.




                                                     -19-
       COMPLAINT FORIN3UNCTIVE RELIEF.CIVIL MONETARYPENALTIES,RESHTUTION.AND OTHER
                                              EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 23 of 71 PageID #: 23
Ca^ 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 In TXSD Page 20 of 48




                 ii.     Yas 2and Brisco Misappropriated Pool Partjcinants'Fnnds

          67.      During the Relevant Period, Yas 2 did not send Pool Participants' funds to any firm
   that trades XAUUSD or mflmtaln those funds in a Yas 2commodity pool account,as it had

   promised to do.

          68.      Tnsteadj Yas 2,through the acts ofBrisco,sent $1,078,649 oftiie Pool Participant
   funds to the Tran-Pool 3 account ending in *3848 at Veritex Community Bank. Upon information
    and belief, Yas2has no agreement with Tran-Pool 3,or any ofthe Tran Pools,regarding the
    management or trading ofPool Participant funds.
           69.     Tran-Pool 3 did not direct any ofthe Yas2Pool Participantfunds to a firm that
    trades XAUUSD.

           70.         Moreover,Tran-Pool 3 itselfis not a trading firm. In fact,Tran-Pool 3's Company
    Agreement states that "[t]he purpose ofthis company is for commercial Real Estate Development"
           71.         With tiie remmning Yas2Pool Participant fimds that were not sent to Tran-Pool 3,
    Brisco paid himselfamounts that exceeded what he was entitled to under the terms ofthe Yas2PP
    Agreement Among other things,the Yas 2PP Agrwment provided that Yas2 was entitled to keep
    10% oftrading "Profits made through the Account"
           72.         For example,on June 13,2022,Brisco paid himselfa *Trofit Withdrawal"of$6,000
    However,Yas 2had generated no trading profits atthe time ofthis payment At least$5,800 ofthis
    payment ori^ated from Yas 2*s Pool Participant funds.
                 iii.      Yas2Did Not Operate the Commoditv Pool In The Manner Required By
                           rnmmiasion Regnlations

           73.         During the RelevantPeriod,Brisco did not operate the purported commodity pool as
    a legal entity separate j&om the CPO (i.e., Yas 2),and Yas 2 did not receive funds in the name ofthe
     purported cottunodity pool.


                                                      -20-
       COMPLAINTFOR INJUNCIIVE RELIEF,CIVIL MONETARY PENALTIES,RESllTUHON,AND OTHER
                                                EQUITABLE REUEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 24 of 71 PageID #: 24
Caie 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 21 of 48



           74.        OiiJune2,2022,BriscomcoiporatedYas2mHawaiL Brisco did notform a
   I separate legal entity for Yas2's purported commodity pool at any point during the RelevantPeriod.
            75.       On June 8,2022,Brisco opened two bank accounts for Yas2 at Bank ofHawaii,
   I with account numbers ending in *5465 and *9770. Brisco was the only authorized signatory for
   I these accounts. Brisco did not open an account in the name ofYas 2's purported commodity pool.
            76.        The Yas2PP Agreement instructed Pool Participants to make deposits by writing a
   1 check payable to"Yas Castellum Financial LLC,"or by wiring funds into Yas 2's account ending in j
    *9770 at Bank ofHawaii.

            77.        All ofthe Pool Participantfunds that Yas 2received during the RelevantPeriod were
    i deposited into Yas 2*s account ending in *9770 at Bank ofHawau.
                     iv.     Brisco Is a ControMing Person ofYas 2

               78.     Brisco is a controlling person ofYas 2. He is the CEO and manager ofYas 2, He
    [ executed Pool Participant agreements for Yas 2in his capacity as CEO and "Account Manager.
    I He was personally reqwnsible for soliciting Pool Participants for Yas 2. He was also the sole
    source ofinformation for Pool Participants regarding Yas 2,including information about the status
     oftheir funds. Further,he controlled Yas 2's bank accounts into which Pool Participants transferred
    I funds.

                      V.      Brisco Is Acting as an Apent for Yas 2

               79.         The conduct described above,including the solicitation ofprospective and existing
    IPoolParticipants ofYas2,and the misappropriation ofPoolParticipantfimds,is occurring withm
    I the scope ofBrisco's employment or office at Yas 2. Accordingly,Brisco is acting as an agent Yas
     2.




                                                           -21-
          COMPIAIOTFORINJtJNCnVE RELIEF,CIVIL MONETARYPENALTIES,RESTTrUTION.AND OTHER
                                                    EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 25 of 71 PageID #: 25
Ca: e 4:23-cv-00336 *SEALED*
                          Document 1 Filed on 01/31/23 in TXSD Page 22 of 48




       C. Tran'sFiuudulentScheme

                  L       Tran Controlled tfa« Affairs and Finances ofthe Tran Pools

           80.      During the Relevant Period,Tran managed and controlled all aspects ofthe Tran
   Pools. Ttan is the President,Treasurer,Director, Secretary,and member/manager ofTran-Pool 1;
    President, Secretary,and Treasurer ofTran-Pool 2;and Managing Member ofTran-Pool 3.
           81.      In addition,Tran controlled die finances ofdie Tran Pools. Tran is the sole
    audiorized signatory for all ofdie Tran Pools* bank accounts.
                  ii.     Tran Accented Pool Participant Fnnds Into the Tran Pools' Accoante

           82.        Throughout the RelevantPeriod,Tran accqjted more than $144,043,883 million
   from no less than 913Pool Participants at least some,if not all, ofwhich was intended for trading
    ferex or XAUUSD on a leveraged or margined basis. In addition to the funds received from Yas 1
    and Yas2,the Tran Pools direcdy accepted funds ftom Pool Participants that were d^osited in
    Tran-controlled bank accounts for the purported purpose oftrading forex or XAUUSD. The
    amounts accepted by Tran into the Tran Pools mclude the following deposits as described in
    paragraphs 83 to 89.

           83.        The Tran Pools accepted at least $5,159,093 from no less than 19 Pool Participants
    m Tran-controlled bank accounts with memos thatshow the funds were intended for trading forex
    or XAUUSD.(This includes $1,448,328 transferred to the Tran Pools by Brisco for Yas 1 and Yas
    2.) These 19 Pool Participants wired funds to the Tran-controlled bank accounts with memos
    including,among other things,"Forexf*,"Forex Investment**,"[Pool Participant Name]Forex
    Fund**,"FX Funds**, and "Funding for FX".

            84.         In or around October 2021,Sims communicated with one ofthese PoolParticipants
    flnH instructed hiin to wire frmds to one ofthe Tran-controlled bank accounts for the purpose of

    trading XAUUSD throu^ a purported account at Off-Shore Trading Firm. Off-Shore Trading firm

                                                      -22-
       COMPLAINT FOR INJUNCTIVE RELIEF,CIVIL MONETARYPENALTIES,RESIXTUTION,AND OTHER
                                               EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 26 of 71 PageID #: 26
Ca|e 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 23 of 48




   advertised diat its customers could trade foiex or XAUUSD on a 1:500 leveraged basis. This Pool

   Participant deposited $50,000 into a Tran-Pool 2account with a memo indicating that the funds
    were for"[Pool Participant's Name]Forex Acct" In May 2022,the same PoolParticipant
    dqiosited an additional $50,000 intended for trading XAUUSD into a Tran-Pool 3 account widi a
    memo indicating that the fiinds were for"Services for[Pool Participant Name]**. As detailed above
   in paragraph 39,this is consistent widi the instruction issued by Sims in February 2022that wire
    memos should indicate Pool Participant deposits are for "services" and include"Nothing about
    investment/trading/hedge fimd."

           85.    Similarly, another Pool Participant who made multiple deposits and received fimds
   ftom the Tran Pool accounts between August 2021 and February 2022for the purpose oftradmg
    XAUUSD received the following instructions from a different individual(not Sims)before making
    these deposits: «»FINAL INSTRUCTIONS-SUPER IMPORTANT* Do not put anything related
    to FINANCE orINVESTMENTS in the description for the wire* It must be SERVICES*",
           86.    In addition,the Tran Pools acc^ted at least $5,175,666 from no less than 39Pool
    Participants with memos tiiatshow the frmds were intraded for tradmg at Off-Shore Trading Firm.
    These 39Pool Participants wred funds to the Tran-controlled bank accounts with memos including
     [Off-Shore Trading Firm]","[Off-Shore Trading Firm]Ihvestmenlf,"[Acronym for Off-Shore
    Trading Firm]","[Acronym for Off-Shore Trading Firm]Account","[Acronym for Off-Shore
    Trading Firm]Dqiosit",or account numbers in the format used by Off-Shore Trading Firm.
           87.     Further,the Tran Pools accepted at least $127,973,799 from no less than 751 Pool
    Participants with memos of"services," which,as described in paragraphs 84 and 85,was an
    instruction provided to Pool Participants to conceal deposits that were intended fiir tradmg forex or
    XAUUSD.

           88.     The Tran Pools also accepted at least $5,735,325 from no less than 104 Pool

                                                    -23-
       CXIMPLAINT FORINJUNCnVE RELIEF,CIVIL MONETARYPENALHES,RESnTUnON,AND OTHER
                                             EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 27 of 71 PageID #: 27
Ca|e 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 24 of 48




   Participants with memos that reference things such as'^Investment'* or"gold".

          89.       In addition to the more than $144,043,883 accepted from the at least 913 Pool

   Participants,Ttan also accepted into die Tian Pools an additional at least $46,168,288 from at least
   524 individuals or entities for which the purpose is unknown.

          90.       On information and belief some,ifnot all ofthe Pool Participants who invested with

   the Tran Pools are not ECPs.

                 iil.     Tran MfsanDropriated Pool Participants* Funds

           91.      During die Relevant Period,Tran did not said any funds to any firm thattrades finex
    or XAUUSD,nor did he send any funds to Off-Shore Trading Firm. Nor did the Tran Pools
   themselves engage in any trading with Pool Participant funds.
           92.      Rather than using Pool Particijwnts* funds to trade forex or XAUUSD,Tran instead
    used some ofthe Pool Participant funds to pay invoices,unrelated individuals, and to repay a
   "loan". In addition,Tran used Pool Participant fimds to subsidize his other unrelated businesses.
           93.      As one example,Tran accepted $1,636,970 from a Pool Participant that deposited
    funds in Tran-Pool Ts ♦2702 account at Home Bank for the purpose oftrading forex or XAUUSD.
    The wire memo on the PoolParticipant's August 7,2020 transaction said "(Pool Participant name]
    Forex Fund." Over the next twelve days,Tran used approximately $1 million ofAis Pool
    Participant's funds to pay an unrelated individual, and anoAer $400,000 ofthe funds to pay four
    Invoices to an unrelated business.

           94.          Similarly,on May 12,2020,Tran accepted $400,000 from a Pool Participantthat
    deposited fimds in Tran Pool I's ^9926 account at Hancock Whitney bank. Although this particular
    deposit does not have a wire memo,this Pool Participant had previous transactions at least one of
    which contained a mono that referenced "[Off-Shore Trading Firm]"and an account number in the
    form used by Off-Shore Trading Firm. On May 13,2020,Tran used approximately $160,000 of

                                                     -24
       COMPLAINT FORINJUNCnVEKEUEF,CIVIL MONETARYPENALTIES,RESTITUTION,AND OTHER
                                               EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 28 of 71 PageID #: 28
Cafie 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 25 of 48




   this Pool Participant's fimds to pay multiple invoices. Li the following two weeks,Tran used
   $140,000 more ofthis Pool Participant's funds to make payments to other Tran-contiolled

   businesses,including a hemp farm ofwhich Tian is or was a member or owner.

          95.      In yet another instance,on December 6,2021,the Tran Pools accepted-$24,000 in
   Pool Participantfunds from Yas 1 in Tran-Pool 1's *2712 account at The First bank. As detailed
   above,Yas 1 transferred these Pool Participantfunds to Tran-Pool 1,at the direction ofSims,for
   the purpose oftrading XAUUSD. Tran instead used this Pool Participant's funds to pay another
   entity, with memos indicating tiie paymenti were for a *low interestloan"and as a"Wire to Close
   Out Account".

          96,       None ofthe Pool Participantfimds described inparagr^hs 93 to 95 were sentto a

   firm that trades forex or XAUUSD.

        • 97,       To the extentthatsome Pool Participants have received fimds back from the Tran
   Pools,those frmds did not originate from any firm that trades forex or XAUUSD.

                 iv.   Tran Did Not Operate the Tran Pools In The Manner Rflonired Bv
                       rnmmlssion Regnlations

          98.       During the RelevantPeriod,Tran accepted Pool Participantfunds in Tran-controlled
    bank accounts       contained non-^ol property,including funds obtained from third parties that are
    notPool Participants, By doing so,Tran commingled pool properly witii non-pool property,
       D. SAEGGM,Story,And SAFRANKoSuBMnTED False StatemsntsTO THE NFA
                  L    False Statements to flie NFA

           99,      To conceal Tran's scheme from regulators, Story and Safranko,in their roles as

    directors and ofQcers ofSAEG GM,knowingly submitted fidsified bank statements to the NFA for
    Tran-Pool 1 accounts during an examination ofSAEG GM. Safranko and Story described the Tran-
    Pool 1 accounts as operational accounts that contained seed capital for SAEG GM which the firm
    used to pay invoices. Further,they identified Tran as a business associate who helped them with the
                                                   -25-
      COMPLAINT FORINJUNCTTVE RELIEF,CIVIL MONETARY PENALTIES,RESTirUTION,AND OTHER
                                             EQUITABLERELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 29 of 71 PageID #: 29
Ca e 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 26 of 48




     operational and oxganizational setup for SAEG GM,and provided funding to the firm. As detailed
     below,Story and Safranko altered Tran-Pool l*s bank statements to,among other things,omit more
     than one million dollars of deposits in Tran-Pool I's accounts that were made for die purpose of

     trading forex or XAUUSD.

            100. On July 12,2021,the NFA initiated an examination ofSAEG GM,a registered CPO
     and spproved forex and swap firm. The NFA initially contacted and spoke to Story, who is
     registered as an associated person f*AF*)ofSAEG GM,on July 12,2021. The NFA requested
     documentation fi»m SAEG <3M including,among other things,bank statements and wire transfer
     documents for all ofthe firm's accounts, whether in its own name or under any afdliated entities.
            101. On July 13,2021,in response to a request fixim the NFA,SAEG GM identified
     Safianko and Story as the "Directors/Partners" ofthe firm,and Story as tiie AP ofSAEG GM. In
     that same response,SAEG GM identified and described the purpose of bank accounts in the names
     ofSAEG GM and two affiliated entities. SAEG GM initially produced the NFA requested bank
     records for these three entities. The NFA reviewed these bank statements and identified

     transactions between SAEG GM and Tran-Pool 1.

             102. In an email to the NFA on July 18,2021,Story identified Safianko as his"partner"
     and SAEG GM's ChiefCompliance Officer.

             103. Throu^out the examination.Story and Safianko communicated with the NFA by
     email, video,and telephone. Story uploaded all ofthe documents produced by SAEG GM in
     response to the NFA's requests via the NFA's document portal.
             104.    On July 19,2021, Story and Safianko participated in a video conference with the
     NFA to discuss SAEG GM's operations,the NFA's document requests, and to answer questions
     aboutthe firm. Following the call, the NFA sent an updated requestfor bank account records for
     Tran-Pool 1.


                                                    -26-
        COMPLAINT FOR INJUNCTIVE RELIEF,CIVIL MONETARYPENALTIES,RESTTTUTION,AND OTHER
                                             EQUITABLERELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 30 of 71 PageID #: 30
CaSe 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 In TXSD Page 27 of 48




          105. On July 21,2021,Saftanko spoke to the NFA by telephone about the NFA's
   document requests,and he indicated thatthe production ofthe Tran-Pool 1 bank statements would
    36 made that afternoon.

          106. Story,on behalfofSAEG GM,produced statements for accounts mmntained at three
   banks by Tran-Pool 1. Story stated that diese ^'were operational accounts where our invoices were
    }aid and where we       deposits ofseed capital from a partner in the firm Ted(Fredinck)Safranko
   as well as Tin Tran who originally applied for the NFA re^tration but we ultimately removed him
   from tiie registration as he did not have die time to conunit to the organization but did a lot of
   operational and organizational structural setup for the firm in the begmnmg.*' SAEG GM
   subsequently produced wire transaction documents for these three accounts.
           107. Story and Safranko directly,and SAEG GM through the acts ofStory and Safranko,
   felsified the Tran-Pool 1 bank statements that SAEG GM submitted to the NFA to conceal,among
    other things, deposits in these accounts that were intended for trading offorex or XAUUSD.
           108. The statements that Story and Safianko produced on behalfofSAEG GM to the
    NFA do not          the bank-certified copies ofthese statements.

           109. For example,the bank-certified statements for Tran-Pool 1*s *9926 at Hancock
    Whitney bank showed a total of$813,432.88 in deposits and withdrawals, while the amounts shown
    on tiie fiilsified statements produced by SAEG GM to the NFA showed only $80,100 deposited and
    wthdrawn,which was less than 10% ofthe true amount. Similarly,the statements produced by
    SAEG GM for Tran-Pool I's *9926 account showed only five deposit transactions^Me the bank-
    certified jgtatftmftntg showed 12 deposits. One difference,for example,was that SAEG GM omitted
    aPool Participant's deposits totaling $44,975,one ofwhich included a memo of*TX Funds".
           110. The discrepancies were even greater between the bank-certified statements and the
    frilsified statements submitted by SAEG GM for the other two accounts. For TianrPool I's *2702
                                                     -27-
       COMPLAINTFORINJUNCTIVE RELIEF,GIVE.MONETARYPENALTIES,RESTITUTION,AND OTHER
                                              EQUITABLE RELIEF
Case 4:23-cv-00336
Caile 1:23-mc-00491-UAD   Document
                   *SEALED*        1 1
                             Document Filed  02/17/23
                                          Filed         Page
                                                on 01/31/23 in 31 of 71Page
                                                               TXSD     PageID #: 48
                                                                            28 of 31




    account at Home Bank,the bank>certif!ed statements showed 14 dqsosit and 84 wididrawal

    transactions, each totaling approximately $4.6 million, but the SA£G GM-generated statements

    showed only one deposit and 13 withdrawals for a total ofonly $50,000 each—which is

    approximately 1% ofthe true amount Moreover,the only deposit transaction that appeared in the
    SAEG GM-geneiated statements was fictitious. Specifically,the SAEG GM-^generated statements

    showed an incoming wire for $50,000 from Tran on July 2,2020 as the initial transaction for the
    account In feet,the initial transaction was a $420,000 incoming wire fix)m Purported Trading Firm
    2,which was omitted fiom fee SAEG GM-generated statements. Sunilarly,the SAEG GM-

    geneiated statements omitted additional Pool Participant transactions including,among others,two
    Pool Participant deposits in August 2020 total $1,636,970,one ofwhich had a memo of"(Pool
    Participant's Initials] Forex Fund".

           111. Likewise,fee SAEG GM-generated statements for Tran-Pool I*s *2712 account at
    The First bank showed only four deposits for a total of$116,100,whereas the bank-certified
    statements showed numerous deposits totaling more than $7.6 million. Among fee transactions

    omitted firom fee SAEG GM-generated statements were four deposits fixim three individuals or
    entities containing the words "invest" or"investment", and five deposits firom four individuals that
    contained memos Including fee word "services". Also omitted j&om the SAEG GM-generated
    statements were two transactions with memos referencing OfFShore Trading Firm,and five

    transactions wife or referencing Purported Trading Firm 2. The SAEG GM-generated statements
    also omitted all transactions for February and May 2021.




                                                    -28-
       COMPLAINT FORINJUNCnVE RELIEF,dVBL MONETARY PENALTIES,RESTTTUTION,AND OTHER
                                             EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 32 of 71 PageID #: 32
CaSe 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 In TXSD Page 29 of 48




          112.        In addition to the millions ofdollars in omitted transactions,the SAEG GM-

   g^eiated statements produced to the NFA contained other signs offorgery> including spacing
   inconsistencies, misalignments oftext,and non-matching logos.

                 iL        Story and Safiranko Are Controlling Persons ofSAEG GM

          113. Story            Safianko are controlling persons ofSAEG GM. At all times durmg the
   Relevant Period,Safranko was the CEO,ChiefCompliance Officer, and a Director ofSAEG GM.
    At all times during the RelevantPeriod,Story was the Investment Manager and a Director ofSAEG
    GM. In addition, Story and Safianko were co-owners ofSAEG GM with two other unnamed
    individuals. Moreover,as detailed above,they were personally involved in communications with
    thel^A during the examination,and in the preparation and submission ofthe falsified documsits.
                 iii       Story and Safranko Are Acting as Agents for SAEG GM

           114. Throng their communications with the NFA and the production ofdocuments to the
    NFA on behalfofSAEG GM,Story and Safianko are acting as agents ofSAEG GM.
                      V.      VIOLATIONS OFTHE COMMODITYEXCHANGE ACT
                                    AND COMMISSION REGULATIONS

                                                COUNT ONE
            VIoIatioiis of7 U.S.C.§6b(a)(Z)(AHQ® and 17 CJF.R.§5.2(b)(lH3)(2022)'
                                    (Against Def(todants Yas 1 and Brisco)
                                  Violations of7U.S.C.§6b(a)(2)(A)and(Q
                                    (Against Defendants Yas 2and Brisco)
             Violations of7 U.S.C.§6b(a)(2)(A)and {€)and 17 CJFJR.§5.2(b)(1)and (3)
                                          (Against D^endant Tran)

             Fraud in Connection with Retail Forex and RetaO Commodity Transactions

           115. Paragraphs 1 through 114 are re-alleged and incorporated herein by reference.



  ®        Section 4b(a)(2)(A)-(C)ofthe Act
  '        RiBgulation 5.2(b)(l)-(3).
                                                     -29-
       COMPLAINT FORINJUNCnVERELIEF,CIVILMONETARYPENALTIES,RESTnxmON,AND OTHER
                                               EQUITABLERELIEF
Case 4:23-cv-00336
Cafle 1:23-mc-00491-UAD  Document
                   *SEALED*       1 1
                            Document Filed  02/17/23
                                         Filed        PageIn33
                                               on 01/31/23     of 71Page
                                                            TXSD    PageID  #: 48
                                                                         30 of 33




           116. 7 U.S.C.§ 6b(a)(2)(AHC) makes it unlawful:

                  (2) for any person, in or in connection with any order to make, or the
                  malring ol^ any contract of sale of any commodity for future delivery —
                  that is ma^,or to be made,for or on behalf oi^ or vdth,any other person,
                  otiier than on or subjectto the rules ofa designated contract market—
                          (A) to cheat or defraud or attempt to cheat or defraud the other
                                 person;

                          (B) willfully to make or cause to be made to the o&er person any
                              false rqjoit or statement or willfully to enter or cause to be
                                 entered for the other person any frlse record;[or]

                          (C) willfiillyto deceive or attemptto deceive the odierperson by any
                              means whatsoever in rega^ to any order or contract or the
                              disposition or execution ofany order or contract,or in re^d to
                              any act of agency peifbnned, with re^)ect to any order or
                                 contract for or, in the case of paragraph (2), with the other
                                 person[.]

           117. Section la(18)(A)(xi)ofthe Act,7 U.S.C.§ la(18)(A)(xO,defines anECP,in
    relevant part,as an individual vdio has amounts mvested on a discretionary basis,the aggregate of
    which exceeds $10 million, or$5 million ifthe individual enters into the transaction to manage the
    risk associated with an asset owned or liability incurred,or reasonably likely to be owned or
    incuned, by the IndividuaL

           118. .Section la(18)(A)fiv)ofthe Act,7U.S.C.§ la(l8Xiv), defines an ECP to include a
    commodity pool that       assets exceeding $5,000,000 and "isformed and operated by a person
    subject to regulation under this chapter or aforeign person performing a similar role or function
    subject as such to foreign regulation (regardless ofwhether each investor in the commodity pool or
    the foreign person is itselfan eligible contract participant)provided,however,that for purposes of
    section 2(c)(2)CB)(vi)ofthis title and section 2(c)(2)(C)(vii)ofthis title,the term 'eligible contract
    participant' shall not include a commodity pool in which any participant is not otiierwise an ehgible
    contract participant"


                                                     -30-
       COMPLAINT FOR INJUNCTIVE RELIEF,GIVE.MONETARY PENALTIES,RESTITUTION,AND OTHER
                                              EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 34 of 71 PageID #: 34
Cafle 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 31 of 48




           119. On infonnation and belief, some,ifnot all ofthe Pool Participants vrfio invested in

   the Yas 1 and Yas 2commodity pools are not ECPs.

           120. On information and belief,some,ifnot all ofthe Pool Participants vdio invested in

    the Tran Pools are not ECPs.

           121. Pursuant to Section 2(c)(2)(C)(ii)(I)ofthe Act,7 U.S.C.§ 2(c)(2)(C)(iO(0,
    "[ajgreements,contracts, or transactions" in retail forex "shall be subject to...[7 U.S.C.§]6b,"
    except in circumstances notrelevant here. Moreover,under7 U.S.C.§ 2(c)(2)(C)^v),7U.S.C.§6b
    applies to forex transactions described herem "as if'they were a contract ofsale ofa commodity for
    future delivery because they were "offered to, or entered into with,a person that is not an"ECP.
    Pursuant to 7 U.S.C.§ 2(c)(2)(C)(vii),"[tjhis Act applies to,and the Commission shall have
    jurisdiction over an account or pooled investment vehicle that is offered for the purpose oftrading,
    or tibat trades,"forex agreements,contracts, or transactions described in 7 U,S.C.§ 2(c)(2)(C)(i).
           122. Pursuant to Section 2(c)(2)(D)(iii) ofthe Act,7U.S.C.§ 2(c)(2)(D)(iii),ret^
    commodity transactions,including the XAUUSD transactions described herein, are subjectto
    7U.S.C.§ 6b,as ifthey are contracts ofsale ofa commodity for future delivery.
            123. 17 C.FJL § 52(b)(2022)provides,in relevant part,that:
                   It shall be unlawful for any person,by use ofthe mails or by any means or
                   instrumentality of interstate commerce, directly or indirectly, in or in
                   connection with any retail forex transaction:

                          (1) To cheat or defraud or attempt to cheat or defraud any person;
                          (2) Willfully to make or cause to be made to any person any fidse
                              report or statement or cause to be entered for any person any
                                false record; or

                          (3) Willfully to deceive or attempt to deceive any pCTson by any
                                means whatsoever.

            124. During the Relevant Period,Yas 1 and Brisco, by use ofthe mails or by any means
     or instrumentality ofinterstate commerce,directly or indirectly,in connection witii retailfor^
                                                    -31-
       CX)MPLAINT FORINJUNCTrVE RELIEF,CIVIL MONETARY PENALTIES,RESTTrUTTGN,AND OTHER
                                              EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 35 of 71 PageID #: 35
CaSe 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 32 of 48




   transactioiis and retail commodity transactions, willfufly or recklessly: (1)cheated or defrauded,or
   attempted to cheat or defraud,other persons,    made or caused to be made felse reports or
   statements to other persons,and/or(3)deceived or attempted to deceived other persons. Yas 1 and
   Brisco did so by making material misrepresentatioiis and omissions with scienter regarding,among
   other things, where Pool Participant frmds would be maintained,how funds would be traded, who
   would do tiie trading, and by claiming that Yas 1 had made historically large tratog profits. Yas 1
   fltiH Brisco also provided Pool Participants with &Ise weekly account statements.

           125. By reason ofthe foregoing,Yas 1 and Brisco violated 7U.S.C.§ 6b(a)(2KA)-(Q
   and 17 CJF.R.§ 5.2(bXlH3)P022).

           126. The foregoing acts, misrepresentations,omissions,and failures occurred within the
    scope ofBrisco's employment or office with Yas 1. Therefore,Yas 1 is liable for his acts,
    misr^resentations,omissions,and frdlures in violation of7U.S.C.§ 6b(a)(2)(A)-(C)and
    17 CPJR- § 5.2(bXl)-<3)(2022),pursuant to Section 2(a)(lXB)ofthe Act,7 U.S.C.§ 2(aXl)(B),
    and Regulation 1.2,17 CJF.R.§ 1.2(2022),as principal for its agent's acts, omissions orfoilures of
    the Act and Regulations.

           127. Throughout the RelevantPeriod, Brisco controlled Yas 1,directly or indirectly, and
    did not act in good faith or knowingly induced,directly or indirectly,Yas Ts conduct alleged in this
    Count Therefore,under Section 13(b)ofthe Act,7 U.S.C.§ 13c(b),Brisco is Uable for Yas I's
    violations of7 UJS,C.§ 6b(a)(2)(A)—(C)and 17 C.F.R.§ 5.2(b)(1)—(3)(2022).

            128. During the RelevantPeriod, Yas2and Brisco, by use ofthe mails or by any means
    or instrumentality ofinterstate commerce directly or indirectly,in connection with retail
    commodity transactions, willfully or recklessly: (1)cheated or defrauded,or attempted to cheat or
    defraud,other persons,and/or(2)deceived or attempted to deceived other persons. Yas 2and

                                                   -32-
       COMPLAINT F0RIN3UNCTIVE RELIEF,CIVIL MONETARY PENALTIES,RESTITUTION,AND OTHER
                                             EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 36 of 71 PageID #: 36
Cai e 4:23-cv-00336 *SEALED*
                          Document 1 Filed on 01/31/23 in TXSD Page 33 of 48




   Brisco did so by making material misrepresentations and omissions with scienter regarding, among
   other things, where Pool Participant funds would be maintained, how funds would be traded, who
   would do the trading, and by claiming that Yas 2had made historically large trading profits. Yas 2
   and Brisco also miss^propriated Pool Participant funds provided in connection with retail
   commodity transactions.

           129. By reason oftiie foregoing, Yas 2and Brisco violated 7 U.S.C.§ 6b(a)(2)(A)and
   (C).

           130. The foregoing acts, misrepresentations,omissions,and failures occurred within the
   scope ofBrisco's employment or ofiSce wth Yas 2. TTierefore,Yas 2 is liable for his acts,
    misrepresentations, omissions,and feilures in violation of7U.S.C.§ 6b(a)(2)(A) and (C),pursuant
    to 7 U.S.C.§ 2(a)(1)(B)and 17 C.F.R.§ 1.2(2022), as principal for its agent's acts,omissions or
   failures ofthe Act and Regulations.

           131. Throughout the RelevantPeriod,Brisco controlled Yas 2,directly or indirectly,and
    did not act in good faith or knowingly induced, directly or indirectly, Yas 2's conduct alleged in this
    Count. Therefore,under 7 U.S.C.§ 13c(b),Brisco is liable for Yas 2's violations of7 U.S.C.
    §6b(a)(2)(A)and(C).

           132. During the Relevant Period,Tran,by use ofthe mails or by any means or
    instrumentality ofinterstate commerce,directly or indirectly, in connection with retail forex
    transactions and/or retail commodity transactions, willfiilly or recklessly: (1)cheated or defrauded,
    or attempted to cheat or defraud, other persons, and/or(2)deceived or attempted to deceived other
    persons. Tran did so by misappropriating Pool Participant funds provided in connection with retail
    forex transactions and/or retail commodity transactions.

            133. By reason ofthe foregoing,Tran violated 7 U.S.C.§ 6b(a)(2)(A)and(C)and
    17 CJ.R.§ 5.2(b)(1) and(3)(2022).

                                                     - 33 - *
       COMPLAINT FORINJUNCnVE RELIEF,CIVIL MONETARY PENALTIES,RESTTTUTION,AND OTHER
                                             EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 37 of 71 PageID #: 37
   e 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 34 of 48




          134. For each Defendant named in this chaige,each misappiopriation, misrepresentation

   and omission of material fact, and &lse statement, including but not limited to those specifically

   alleged herein, is alleged as a separate and distinct violation of7 U.S.C.§ 6b(a)(2XA)-(C)and

   17 CJFJL § 5.2(b)(lH3)(2022).

                                               COUNT TWO
                                Violations of7 U.S.C.§6o(l)(A)-(B)^®
                         (Against Defendants Yas 1,Yas 2,Brlseo,and Tran)
                            Fraud and Deceit by CPOs and an AP of CPOs

          135. Paragraphs 1 through 114 are re-alleged and incoiporated herein by reference.
          136. Section la(llXA)(i)ofthe Act,7 U.S.C.§ la(l l)(A)(i), defines a CPO,in relevant
   part,as any person:

                  [E]ngaged in a business that is of the nature of a commodity pool,
                  investment trust, syndicate, or similar form of ^teiprise, and who, in
                  connection therewith, solicits, accepts, or receives &om others, fimds,
                  securities, or property, either directly or through c^^ital contributions, tiie
                  sale ofstock or other forms of securities, or otherwise,for the purpose of
                  trading in commodity interests, including any—

                              CO commodity for future delivery, security futures product, or
                             swap;[or]

                             (D) agreement, contract, or transaction described in [S]ection
                             2(c)(2)(C)©[ofthe Act]or[S]ection2(c)©(D)© [ofthe Act].

           137. For the purposes ofretail fotex transactions,a CPO is defined in Regulation
   5.1(d)(1), 17 CPJL § 5.1(d)(1)(2022),as any person who operates or solicits funds,securities, or
   property for spooled investment vehicle that is not an ECP,as defined in 17 U.S.C.§ la(18),and
   that engages in retml forex transactions.




           Section 4o(l)(A)-(B)ofthe Act
                                                    -34-
      COMPLAINT FORINJUNCTIVE RELIEF,CIVIL MONETARY PENALTIES,RESTITUTION,AND OTHER
                                               EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 38 of 71 PageID #: 38
Ca#e 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 In TXSD Page 35 of 48



           138. Pursuant to 7 U.S.C.§ 2(c)(2)(C)(ii)(I),"[algreements,contracts, or transactions" in
   retail forex and accounts or pooled investment vehicles in retail forex '*shall be subject to...
    7U.S.C.§]6o," except in circumstances not relevant here.

           139. Regulation 1.3,17 CJ.R.§ 1.3(2022),defines an AP ofa CPO as any natural
   person associated with:

                  (3) A[CPO]as a partner, officer, employee, consultant, or agent(or any
                  natural person occupying a similar status or performing similar fimctions),
                  in any capacity which involves (i) the solicitation of fiinds, securities, or
                  property for a participation in a commodity pool or (ii) the supervision of
                   any person or persons so engaged[.]

           140. Pursuant to 17 CJFJC § 5.1(d)(2)(2022),any person associated with a CPO "as a
    partner,ofBcer,employee,consultant or agent(or any natural person occupying a similar status or
    performing similar functions), in any capacity which involves: 0)[t]he solicitation offunds,
    securities, or property for a participation in a pooled investment vehicle; or(ii)[t]he supervision of
    any person or persons so engaged" is an AP ofa CPO.
           141. 7U.S.C.§ la(l8)(A)(xi)defines an ECP,in relevant part, as an individual who has
    amounts invested on a discretionary basis,the aggregate ofwhich exceeds $10 million, or
    $5 million ifthe individual enters into the transaction to manage the risk associated with an asset
    owned or liability incurred, or reasonably likely to be owned or incurred, by the individual.
            142. 7U.S.C. § 1a(l8)(iv)defmes an ECP to include a commodity pool that has assets
    exceeding $5,000,000 and "is formed and operated by a person subject to regulation under this
    chapter or a foreign person performing a similar role or function subject as such to foreign
    regulation(regardless of whetiier each investor in the commodity pool or die foreign person is itself
    an eligible contract participant)provided, however,that for purposes ofsection 2(c)(2)(B)(vi)of
    this title and section 2(c)(2)(C)(viiO ofthis title,the term 'eUgible contract participant' shall not
    include a commodity pool in which any participant is not otherwise an eligible contract partic^ant.'
                                                      -35-
       COMPLAINT FORINJUNCnVE RELIEF,CIVIL MONETARY PENALTIES,RESTITUTION,AND OTHER
                                               EQUITABLE RELIEF
Case 4:23-cv-00336
CaRe 1:23-mc-00491-UAD   Document
                   *SEALED*       1 1
                            Document Filed  02/17/23
                                         Filed         Page
                                               on 01/31/23 in39 of 71Page
                                                             TXSD     PageID #: 48
                                                                          36 of 39




           143. On infnrmatinn and belief, some,ifnot all ofthe Pool Participants^o invested in

   the Yas 1 and Yas 2commodity pools are not ECPs.

           144. On infonnation and belief,some,ifnot all ofthe Pool Participants who invested in

   the Tran Pools are not ECPs.

           145. During the Relevant Period,Yas 1 solicited funds,securities, or property for pooled
   investment vehicles forthe puipose oftrading in r^ail forex transactions(as described in 7 U.S.C.
   § 2(c)(2)(C)(i))and retail commodity transactions(as described in 7 U.S.C.§ 2(c)(2)(D)0));
   therefore, Yas 1 is acting as a CPO,as defined by 7U.S.C.§ la(ll)(A)(i)(D)and 17 C.F.R.
   § 5.1(d)(1)(2022).

           146. During the Relevant Period, Yas 2solicited funds,securities, or property for pooled
   investment vehicles for the puipose oftrading in retail commodity transactions(as described in
   7U.S.C.§ 2(c)(2)(D)Ci)); therefore, Yas2is acting as a CPO,as defined by 7 U.S.C.
   § la(ll)(A)Ci)(n).

           147. During the RelevantPeriod,Brisco was associated with Yas 1 and Yas 2,both CPOs,
    as a partner, officer,employee,consultant, or agent in a capacity that involved the solicitation of
    funds,securities,or property for participation in a commodity pool. Therefore,Brisco was an AP of
    a CPO as defined by 17 CJR.§ 1.3(2022)and 17 C.FR.§ 5.1(d)(2)(2022).
           148. During the Relevant Period,Tran accepted funds, securities,or property for pooled
    investment vehicles for the puipose oftrading in retail forex transactions(as described in 7 U.S.C.
    §2(c)(2)(C)(i)) and/or retail commodity transactions(as described in 7U.S.C.§ 2(c)(2)(D)®);
    therefore, Tran is acting as a CPO,as defined by 7 U.S.C.§ la(l l)(A)(i)(II) andl7 CJ.R.
    § 5.1(d)(1)(2022).

           149. 7 U.S.C.§ 6o(l)prohibits CPOs and APs ofCPOs,whether registered with the
    Commission or not, by use ofthe mails or any means or instrumentality ofinterstate commerce,

                                                    -36-
       COMPLAINT FOR INJUNCTIVE RELIEF,CIVIL MONETARY PENALTIES,RESTmmON,AND OTHER
                                             EQUITABLE REUEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 40 of 71 PageID #: 40
Cafte 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 37 of 48




   directly or indirectly,from "(A) ...employ[ing] any device,sch^e,or artifice to defiiaud any
   client or participant or prospective client or participant; or(B)...engag[ing] in any transaction,
   practice, or course of business'wfaich operates as a fiaud or deceit upon any client or participant or
   prospective client or participant"

            150. During the RelevantPeriod,Yas 1,while acting as a registered CPO,throu^ Brisco,
   committed fiaud in violation of7 U.S.C.§ 6o(l)(A)and(B)by,among other things, making
             misrepresentations and omissions with scienter^ and by issuing &lse weekly account
   statements to Pool Participants.

            151. During the RelevantPeriod,Yas 2,while acting as an unie^stered CPO,throu^
   Brisco,committed fiaud in violation of7 U.S.C.§6o(lXA)and(B)by,among other filings, making
    material misrepresentations and omissions with scienter; and by misappropriating Pool Participant
   fimds.

            152. Yas 1, Yas 2,and Brisco committed the acts and practices described herein willfully,
    or with reckless disregard for the truth.

            153. The foregoing acts, misrepresentations, omissions,and feilures occurred within the
    scope ofBrisco's employment or office with Yas 1 and Yas 2, Therefore, Yas 1 and Yas 2are
    liable for his acts, misrepresentations, omissions,and feilures in violation of7 U.S.C.§ 6o(l)(A)
    and(B).pursuantto 7 U.S.C.§ 2(a)(1)(B)and 17 C.FJL § 1.2(2022),as principals for its agent's
    acts, omissions or faUuies ofthe Act and Regulations.

            154. Brisco controls Yas 1 and Yas 2,directly or indirectly, and did not act in good feith

    or knowingly induced,directly or Indirectly,Yas 1*s and Yas 2*s conduct alleged in this Count
    Therefore,under 7 U.S.C.§ 13c(b), Brisco is liable for Yas I's and Yas 2's violations of7U.S.C.
    §6o(l)(A)and(B).



                                                     -37-
       COMPLAINT FOR INTUNCTIVE RELIEF,CIVIL MONETARYPENALTIES,RESTiTUTION,AND OTHER
                                                EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 41 of 71 PageID #: 41
C3&e 4:23-cv-00336 *SEALED*
                          Document 1 Filed on 01/31/23 in TXSD Page 38 of 48




          155. During the Relevant Period, Tran,v/hile acting as an unregistered CPO,committed
   fiaud in violation of7 U.S.C.§ 6o(l)(A)and(B)by,among other things, misappropriating Pool
   Participant fiinds.

           156. Tran,committed the acts and practices described herein willfully, or with reckless
   disregard for the truth.

           157. For each Defendant named in this charge,each misappropriation, misrepresentation
   and omission ofmaterial feet,and felse statement,including but not limited to those Ispecifically
   alleged herein,is alleged as a separate and distinct violation of7 U.S.C.§6o(l)(A)and(B).
                                               COUNT THREE
                         violations of7 U.S.C.§§6b(a)(2)(A)-(C)and §6o(lKA)-<P),and
                                         17 CJJl.§SJ(b)(l)-(3)(2022)
                                           (i^ainst Defendant Sims)

                              Aiding and Abetting Yas I's and Brisco's Violations

           158. Paragraphs 1 through 114 are re-alleged and incorporated herein by reference.
           159. Section 13(a)ofthe Act,7 U.S.C.§ 13c(a), provides that:

                   Any person who commits,or who willfiilly aids,abets, counsels,
                   commands,induces,or procures the commission of,a violation ofany of
                   the provisions ofthis chapter,or any ofthe rules,regulations,or orders
                   issued pursuant to this chapter, or who acts in combmation or concert
                   with any other person in any such.violation, or who willfully causes an
                   act to be done or omitted which if directly performed or omitted by him
                   or another would be a violation ofthe provisions ofthis chapter or any of
                   such rules,regulations,or orders may be held responsible for such
                   violation as a principal.

           160. As alleged above, Yas 1 and Brisco made material misrepresentations and omissions
    with scienter regarding,among other things,where Pool Participant funds would be maintained,
    how funds would be traded, who would do the trading,and by claiming that Yas 1 had made
    historically large trading profits. Yas 1 and Brisco also provided Pool Participants with false
    weekly account statements. Through this conduct, Yas 1 and Brisco violated 7 U.S.C.
    §§ 6b(a)(2)(A)-(C),6o(l)(A)-(B),and 17 CJF.R § 5.2Cb)(l)-(3).
                                                    -38-
      COMPLAINT FOR DUUNCTIVE RELIEF,CIVIL MONETARYPENALTIES,RESTITUTION,AND OTHER
                                               EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 42 of 71 PageID #: 42
Cafte 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 39 of 48




          161. By,among other things; providing Yas 1 with confidential and proprietary
   documents and information aboutIhnported Trading Finn 1 knowing that Yas 1 would use that
   infomiation to solicit Pool Participants in connection with retail forex and retail commodity
   1 lansactions,knowin^y directing Yas 1 to transfer Pool Participant funds to entities that he knew or
   should have known would not send funds to any trading firm,and by instnictmg Brisco to disguise
   ■ he transfers as payments for"services"so the scheme would not be discovered.Suns willfully
   aided and abetted Yas Ts and Brisco's violations of7U.S.C.§6b(a)(2)(A)-(Q» 6o(lXAHB),and
   17 CPJL § 5.2(b)(l)-(3),and acted in combination or concert with Yas 1 and Brisco in the
   commission thereof.

          162.     Therefore,pursuant to 7U.S.C.§ 13c(a), Sims is responsible,as ifhe was a
   principal,for each violation of7 U.S.C.§§ 6b(aX2)(A)-(C)and 6o(l)(A)-(B),and 17 CPJL
   § 5.2(bXl)-(3)committed by Yas 1 and Brisco.
                                             COUNT FOUR
                               ^^olations of7U.S.C §§ 6k(2)and 6m(l)"
                                   (Against Defendants Yas 2,Brisco)

                       Violations of7 UJS.C.§§ 2(c)(2)(C)(ui)(l)(cc)"and 6m(l),
                                                    and
                                      17 CJJt§S3(a)®(2022)W
                                        (Against Defendant Tran)
                         Failure To Register as a CFO and as an AP ofa CPO

           163. Paragraphs 1 through 114 are re-alleged and incorporated herein by reference.
           164. 7 U.S.C.§ la(l l)(A)(i), defines a CPO,in relevant part, as any person:

                   [Elngaged in a business that is ofthe nature ofa commodity pool,
                 ■ investment trust,syndicate,or similar form ofenterprise,and who,in
                   connection tiierewith,solicits, accepts,or receives fiom others,funds.


           Sections 4k(2)and 4m(l)ofthe Act
           Section 2(cX2)(C)(iii)(ri(cc)ofthe Act
           Regulation S.3(a)(2).

                                                    -39-
      OOMPLAINTFORINJUNCnVE RELIEF,CIVIL MONETARYPENALTIES,RESTITUTION,AND OTHER
                                             EQXETABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 43 of 71 PageID #: 43
Cafte 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 40 of 48




                  securities,or proper^,either directly or duou^ capital contributions,the
                  sale ofstock or other forms ofsecurities, or otherwise,for the purpose of
                  trading in commodity interests, including any—

                          i. commodity for future delivery, security futures product, or
                             swap;[or]

                          ii. agreement, contract, or transaction described in [S]ection
                              2(c)(2)(C)(0[oftiie Act]or[S]ection2(c)(2)(D)Ci)[ofthe Act]
            165. Subject to certain excq)tions not relevant here,7 U.S.C.§6m(l)states that it shall
   be"unlawful for any...[CPO],unless registered under this chapter,to make use ofthe mails or
   any means or instrumentality ofinterstate commerce in connection witii his business as such...
   [CPO]...

            166. Subject to certain exceptions not relevant here,7 U.S.C,§6k(2)6i) makes it unlawful
   for any person to be associated with a CPO as a"partner, officer, employee,consultant or agent(or
   any person occupying a similar status or performing similar functions),in any capacity that involves
   (i)solicitation offunds,securities, or property for a participation in a commodity pool...unless
   such p^on is registered vtitii the Commission"as an AP oftiie CPO.
            167. 7U.S.C.§ 6k(2)also prohibits a CPO from permitting "such a person to become or
    remain associated with" it, in any such capacity, ifthe CPO knew or should have known that such
    person was notregistered as an AP.

            168. Subject to certain exceptions not relevant here,7U.S.C.§2(c)(2)(C)(iii)(l)(cc)states
    thata

                 [Pjerson, unless registered in such capacity as the Commission by rule,
                 regulation, or order shall determine and a member of a futures association
                 registered under section 21 ofthis title,shall not—


                 (cc)operate or solicit funds,securities,or property for any pooled
                 investment vehicle tiiat is not an eligible contract participant in connection
                 with [retail forex agreements,contracts, or transactions].

                                                    -40-
      COMPLAINT FOR INJUNCITVE RELIEF,CIVIL MONETARYPENALTIES,RESTTTUTION,AND OTHER
                                             EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 44 of 71 PageID #: 44
Cafte 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 41 of 48




          169. For the puiposes ofretail forex transactions,a CPO is defined in 17 CJJR-
   § 5.1(dXl)(2022),as any person who operates or solicits funds, securities,or property for a pooled
   iinvestment vehicle tiiat is not an ECP,as defined in 17 U.S.C.§ la(18), and that engages in retail
   forex transactions.

           170. Except in circumstances notrelevant here,17 CJF,R.§ 53(a)(2)(i)(2022)reqiures
   those that meet the definition ofCPO under 17 CJFJL § 5.1(d)(2022)to register as a CPO with the
   Commission.

           171. For the purposes ofretail fi>rex transactions,an AP ofa CPO is defined in 17 CJ'JR.
   § 5.1((0(2)(2022)as any natural person associated with a CPO as a partner,officer,employee,
   consultant,or agent(or any natural person occupying a similar status or performing sunilar
   functions)in any capacity tiiat involves soliciting fimds,securities or property for participation in a
    pooled investment vehicle or supervising persons so engaged.
           172. ^cept in certain circumstances not relevant here, 17 CJJR.§ 5.3(a)(2)(ii)(2022)
    requires those that meetthe definition ofan AP ofa CPO under 17 CJFR.§ 5.1((Q(2022)to raster
    with the Commission.

           173. During the Relevant Period,Yas2operated or solicited fimds,securities,or property
    for a pooled investment vehicle from pool participants for the purpose oftrading in retail
    commodity transactions(as described in 7 U.S.C.§ 2(c)(2)(D)(0);tiius, Yas 2is acting as a CPO as
    definedby7U.S.C.§la(ll).

           174. Yas 2,while using the mails or any means or instrumentality ofinterstate commerce
    in connection with its business as a CPO,is not registered with the Commission as a CPO,in
    violation of7 U.S.C.§ 6m(l).

           175. During the Relevant Period,Brisco associated with Yas2 as a partner,officer,
    employee,consultant,or agent(or any person occup3dng a similar status or performing sumlar
                                                    -41-
       CCMMPLAINT.FORINJUNCITVE BELIEF,C3VIL MONETARY PENALTIES,RESTITUTION,AND OTHER
                                             EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 45 of 71 PageID #: 45
Ccifte 4:23-cv-00336 *SEALED*
                          Document 1 Filed on 01/31/23 In TXSD Page 42 of 48




   functions),in a opacity that involved die solicitation offunds,securities, or property fora
   participation in a commodity pool;therefore,Brisco acted as an AP ofa CPO as defined by 7
   U.S.C.§6k(2)(i).

           176. Brisco is not registered with the Commission as an AP ofYas 2;thus,Brisco acted
   as an unregistered AP ofa CPO in violation of7 U.S.C.§6k(2Xi)«

           177. Yas2supervised Brisco and permitted him to solicitPool Participants for tiie
   commodity pool knowing that he was unregistered,in violation of7 U.S.C.§ 6k(2).
           178. The foregoing acts,omissions,and foilures occurred within the scope ofBrisco^s
   employment or office with Yas 2. Therefore, Yas 2is liable for his acts, omissions,and failures in
   violation of7 U.S.C.§ 61c(2)pursuant to 7 U,S.C.§ 2(a)(1)(B)and 17 C.F,R.§ 1,2(2022),as
   principal for its agent's acts, omissions or foilures ofthe Act and Regulations,
           179. Brisco controls Yas 2,directly or indirectly, and did not act in good feith or

   knowingly induced,directly or indirectly, Yas 2*s conduct alleged in this Count. Therefore,Brisco
   is also liable for Yas 2*s violations of7 U.S.C.§§ 6k(2)and 6m(l)pursuant to 7 U.S.C. 13c(b).

           180. During the Relevant Period,Tran operated or accepted fimds,securities, or property
   for a pooled investment vehicle from pool participants who were not ECPs,as defined by 7 U.S.C.
   § la(l8),for the purpose oftrading in retail forex transactions(as described in 7U.S.C.§ U.S.C.
   § 2(c)(2)(C)0))and/or retml commodity transactions(as described in 7 U.S.C.§ 2(c)(2)(P)(i)); thus,
   Tran is acting as a CPO as defined by 7U,S.C.§ la(l1)and 17 CJF.R.§ 5.1(dXl)(2022).
           181. Tran, while using the mails or any means or instrumentality ofinterstate commerce

    in coimection with his business as a CPO,is not registered with the Commission as a CPO,in
    violation of7U.S.C.§§ 2(c)(2KQ(iiO(I)(cc)and 6m(l),and 17 C.FJL § 53(a)(2)© (2022),
           182. Each instance that Yas 2and Tran acted as a CPO but failed to register with the

    Commission as such is alleged as a separate and distinct violation.

                                                   -42-
      CXDMPLAINT FORINJUNCITVE RELIEF.CIVIL MONETARYPENALTIES,RESTTrUTION,AND OTHER
                                            EQUITABLERELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 46 of 71 PageID #: 46
Caie 4:23-cv-00336 *SEALED*          Document 1 Filed on 01/31/23 in TXSD Page 43 of 48




          183. Each instance tiiat Brisco acted as an AP ofYas 2,a CPO,but fiiiled to re^ster with

   the Conunission as such is alleged as a separate and distinct violation.
                                              COUNT FIVE
                          Violations of17 CJF.R.§4JM)(a)(l),(bHc)(2022)"
                         (Against Defendants Yas 1,Yas 2,Brisco,and Tran)

     Failure To Operate Pool as Separate Entity; Failure To Receive Fool ParticipantFunds in
                               Pool's Name; Commingling ofPool Funds

          184. Paragraphs 1 through 114 are re-alleged and incorporated herein by reference.
          185. Regulation 5.4,17 C.FJL §5.4(2022),states that 17 CJFJL PL 4appUes to any
   person required to register as a CPO pursuant to 17 C.FiL pt 5(2022).
          186. 17 CJFJL § 420(a)(1)(2022)requires a CPO,whether registered or not,to operate

   its commodity pool as a legal entity separate from feat ofthe CPO.

          187. 17 CJFJL §420(b)^022)prohibits a CPO,vfeether registered or not,from

   receiving pool fimds in any name other than that ofthe pool.

           188. 17 C.FJR- § 4.20(c)(2022)prohibits a CPO,"«feether registered or not,from

   commingling the property ofany pool it operates with the property ofany other person.
           189. During the Relevant Period,Yas 1, while registered and acting as a CPO,violated 17
   CJFJL §420(a)(1),(b)-(c)(2022)by: failing to operate the commodity pool as a legal entity
   separate from Yas 1;feiling to receive Pool Participantfunds in the pool's name;and commingling
   Pool Participants' funds with Yas I's non-pool assets.

           190. During the Relevant Period,Yas 2,while unregistered and acting as a CPO,violated
   17 CJFK.§ 420(a)(1)and(b)(2022)by: failing to operate the commodity pool as a legal entity
   separate from Yas 2;and failing to receive Pool Participant frmds in fee pool's name.

           191. The foregoing acts and frulures occurred wifein fee scope ofBrisco's employment or



   "       Regulation 420(a)(l),(b)-(c).
                                                   -43-
      COMPLAINT FORlNJUNCnVE RELJEF,CIVIL MONETARY PENALTIES.RESTITimON,AND OTHER
                                    EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 47 of 71 PageID #: 47
Caike 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 44 of 48



   office with Yas 1 and Yas 2. Therefore,Yas 1 and Yas 2are liable for his acts and feiluies in
   violation of17 C.F.IL § 4^0(aXl),(bH^)(2022),pursuant to 7 U.S.C.§ 2(a)(1)(B)and 17 C.FJL
   i J O(2022),as principals for its agent*s acts,omissions or feilures ofthe Act and Regulations.
           192. Ihroughout the RelevantPeriod,Brisco controlled Yas 1 and Yas 2,directly or
   indirectly, and did not act in good foidi or knowingly induced,dnrectly or induectly,Yas 1 s and
   Yas 2*s conduct alleged in this Count Th«efore,under 7 U.S.C.§ 13c(b),Brisco is liable for Yas
   Ts and Yas 2*s violations of17 CJF.R- § 4.20(a)(1),(b)-(c)(2022).

           193. During the RelevantPeriod,Tran, while unregistered and acting as a CPO,violated
   17 CJ.R.§420(c)(2022)by commingling Pool Participants* funds with Iran's non-pool assets.
            194. For each Defondant named in this charge, each act offoiling to operate a pool as a
   legal entity separate from that ofthe CPO,improperly receiving pool participants* funds,and
   commingling the property ofthe pool widi non-pool property,includmg but not lunited to those
   specifically alleged herein,is alleged as a separate and distinct violation of17 CJJL §420(a)(1),
   (b)-(c)(2022).

                                               COUNT SIX
                                    Violations of7 U.S.C.§13(a)(4)«
                         (Against Defendants SAEG GM,Stoiy,and Safranko)
                         Willful Submission ofFalse or Misleading Information
                                         to a Futures Association

            195. Paragraphs 1 tbrougji 114 are re-alleged and incorporated herein by reference.
            196. 7U.S.C,§ 13(a)(4)provides,in pertinent part,that"It shall be a felony punishable
    by a fine ofnot more than $1,000,000 or imprisomnentfor not more than 10 years,or both,together
    with the costs ofprosecution,for...

                   (4)Any person willfully to fidsity, conceal,or cover up by any trick,
                   scheme,or artifice a material foct, make any folse,fictitious,or finudulent


    15
            Section 9(a)(4)ofthe Act
                                                   -44-
         COMPLAINT FORINJUNCnVE RELIEF,CIVIL MONETARYPENALTIES,RESTmmGN,AND OTOER
                                             EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 48 of 71 PageID #: 48
Cafte 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 In TXSD Page 45 of 48



                  statements or representations, or make or use any false writing or
                  document knowing the same to contidn any false,fictitious,or fraudulent
                  statement or entry to a...futures association designated or registered
                  under this Act acting in furtherance ofits ofiScial duties under this Act
           197. SAEG GM,Story,and Safranko coordinated to willfully submit numerous materially
   felse documents to the NFA,a futures association designated or registered under the Act,during the
   course ofan examination in furtherance ofits official duties. These materially &lse documents
   included,but were not limited to,frlsitied bank account statements.

           198. By reason oftiie foregoing SAEG GM,Story,and Safranko violated of7 U.S.C.
   § 13(aX4).

           199. The foregoing acts ofsubmitting materially false documents and statements to the
   >1FA occurred within the scope Story's and Safranko's employment or office for SAEG GM.
   Therefore,SAEG GM is liable for Story's and Safranko's, violations of7 U.S.C.§ 13(a)(4),
    pursuantto 7 U.S,C.§2(a)(1)(B)and 17 C.FJL § 1.2(2022),as principal for its agent's acts,
    omissions or frulures ofthe Act and Regulations.

            200. Throughout the Relevant Period,Story and Safranko controlled SAEG GM directly
    or indirectly, and did not act in good frith or knowingly induced, directly or induectiy,SAEG GM's
    conduct alleged in this Count Therefore,under 7 U.S.C.§ 13c(b), Story and Safranko are liable for
    SAEG GM's violations of7U.S.C.§ 13(a)(4).

            201. For each Defmdant named in this charge,each act ofsubmitting materially frlse
    documents and statements to the NFA,is alleged as a sqiarate and distinct violation of7U.S,C.
    § 13(a)(4).

                                      VL     IPTCT.TTCF RKOPESTED

           WHEREFORE,the Commission respectfully requests that this Court,as authorized by 7
    U.S.C.§ 13a-l,and pursuant to its own equitable powers:

           A.      Find that Defendants violated Sections 2(c)(2)(C)(iii)(I)(cc)> 4b(a)(2)(A)-(C)» 4k(2),
                                                    -45-
       COMPLAINT FORINJUNCTIVE RELIEF.CIVIL MONETARYPENALTIES,RESimmON,AND OTHER
                                             EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 49 of 71 PageID #: 49
Cafte 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 46 of 48




   4m(l),4o(l)(AHB),and 9(aX4)oftiie Act,7 U.S.C.§§ 2(c)(2)(C)(iu)(I)(cc),6b{a)(2)(AHC),
   6k(2),6m(l),6o(l)(AHB),and 13(a)(4), and Regulations 4.20(a)(1),(b>-(c),5.2(bXlH3),and
   5.3(a)(2)(2022),17 CJF.R.§§ 4.20(a)(1),(bHc),5.2(b)(l)-(3),and 53(a)(2)(2022);
          B.      Enter an order ofpermanent injunction permanently restraining enjotning, and
   prohibiting Defendants,and any other person or entity associated with them,from engaging in
   conduct described above,in violation of7U.S.C.§§ 2(c)(2)(C)(iii)(I)(cc),6b(a)(2XA)-(C),6k(2),
   6m(l),6o(l)(A)-(B), and 13(a)(4),and 17 CJFJl. §§ 430(a)(1),(b)-(c),53(b)(l)-{3),and 53(a)(2)
   (2022);

          C.      Enter an order ofpermanent injunction permanently restraining, enjoining,and
   prohibiting Defendants,and their affiliates, agents,servants, employees,assigns, attorneys,and all
   persons in active concert with them,from directly or indirectly:
               1) Trading on orsubject to the rules ofany registered entity(as that term is defined by
                  Section la(40)ofthe Act,7 U.S.C.§ la(40));

               2) Entering into any transactions involving"commodity interests'*(as that term is
                  defined in Regulation 13,17 CJFJL § 13(2022)),for accounts held in the name of
                  any Defendant orfor accounts in which any Defendant has a direct or indirect
                  interest;

               3) Having any cotmnodity interests traded on any Defendants' behalf;
               4) Controlling or directing the trading for or on behalfofany other person or entity,
                   whether by power ofattorney or otherwise,in any account involving commodity
                   interests;

               5) Soliciting,receiving,or accepting any funds from any person for the purpose of
                   purchasing or selling ofany commodity Interests;

               6) Applying for registration or claiming exemption firom registration with the

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      COMPLAINT FORINJUNCITVE RELIEF,CIVIL MONETARYPENALTIES,RESTITUTION,AND OTHER
                                            EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 50 of 71 PageID #: 50
Cafte 4:23-cv-00336 *SEALED* Document 1 Filed on 01/31/23 in TXSD Page 47 of 48



                   Commission in any capacity, and engaging in any activity requiring sudi r^;istration
                   or exemption from registration with the Commission except as provided for in
                   Regulation 4.14(a)(9), 17 CJJR.§ 4.14(a)(9)(2022);and
                7) Acting as a principal(as that term is defined in Regulation 3.1(a), 17 C.F.R.§ 3.1(a)
                   (2022)),agent,or any othCT officer or employee ofany person registered,exempted
                   from registration, or required to be registered with the Commission excq)t as
                   provided for in 17 CJJC § 4.14(a)(9).

           D.      Enter an order directing Defendants,as well as any third-party transferee and/or
   successors thereof to disgorge,pursuant to such procedure as the Court may order, all benefits
   received Including, but not limited to,salaries,commissions,loans,fees,revenues,and trading
   profits derived, directly or indirectly,from acts or practices vdiich constitute violations ofdie Act
   and Regulations as described herein, including pre-judgment and post-judgment interest;
           E.       Enter an order requiring Defendants as well as any successors thereol^ to make full
    restitution to every person vdio has sustained losses proximately caused by the violations described
    herein, including pre-judgment and post-judgment interest;

           F.       Enter an order directing Defendants as well as any successors tiiereof,to rescind,
    pursuant to such procedures as the Court may order,all contracts and agreements,whether implied
    or express, entered into between,with or among Defendants and any ofthe pool participants whose
    funds were received by Defendants as a result ofthe acts and practices that constituted violations of
    the Act and Regulations as described herein;

           O.       Fnter an order directing Defendants to pay a civil monetary penalty assessed by the
    Court,in an amount not to exceed the penalty prescribed by7 U.S.C.§ 13a-l(rQ(l),as adjusted for
    inflation pursuant to the Federal Civil Penalties Inflation Adjustment Act Improvements Act of
    2015,Pub.L. 114-74,tit VII,§ 701,129 Stat. 584,599-600,see 17 CJ.R.§ 143.8(2022),for

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       COMPLAINT FORINTUNCrrVE RELIEF.CIVIL MONETARYPENALTIES,RESTmmON,AND OTHER
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                                              on 01731/23 in 51 of 71Page
                                                             TXSD     PageID #:48
                                                                          48 of 51




   each violation of   Act and Regulations,as described h^in;

          H.     Enter an order requiring Defendants to pay costs andf^ as permitted by 28 U.S.C
   §§ 1920,2413(a)(2); and

          I.     Enter an order providing such other and further reliefas this Court may deem
   necessary and q^priate under the circumstances.




   Dated: January 30,2023          Respectfully submitted,

                                           COMMODITY FUTURES
                                           TRADING COMMISSION

                                           /s/ Alison B. Wilson
                                           ALISON B.WILSON(D.C.Bar 475992),pro hacvice
                                           pending
                                           (Attorney-ht'Charge)
                                           SEAN HENNESSY(D.C.Bar 1011564),pro hacvice
                                           pending
                                           Attorneys for Plaintiff
                                           COMMODITY FUTURES
                                           TRADING COMMISSION
                                           1155 21st Street,N.W.
                                           Washington,D.C.20581
                                           Telephone:(202)418-5000
                                           awilson@cftc.gov
                                           shennessy@cftc.gov




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      CX)MPLAINT FOR INJUNCTTVE REUEF,CIVIL MONETARY PENALTIES,RESTITUTION,AND OTHER
                                          EQUITABLE RELIEF
Case 1:23-mc-00491-UAD Document 1 Filed 02/17/23 Page 52 of 71 PageID #: 52




                     EXHIBIT B
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Ca#e   1:23-mc-00491-UAD
     4:23-cv-00336        Document
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                                           02/17/23   Page 53
                                                on 02/06/23    of 71 PageID
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                                                                          Southern District of Texas

                                                                               ENTERED

   ALISON B. WILSON,(Attomey-In-Charge),jc>ro hac vice pending             February 06, 2023
   SEAN HENNESSY,pro hac vice pending                                      Nathan Ochsner, Cierk
   Attorneys for Plaintiff
   COMMODITY FUTURES
   TRADING COMMISSION
    1155 21st Street, N.W.
   Washington, D.C. 20581
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   awilson@cftc.gov
   shennessy@cftc.gov

                              THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS




     COMMODITY FUTURES
     TRADING COMMISSION,

     Plaintiff,                                  Civil Case No.4:23-cv-00336



                                                 ORDER
     MARCUS TODD BRISCO, YAS                    GRANTING PLAINTIFF'S MOTION
     CASTELLUM LLC,YAS CASTELLUM                FOR AN EX FARTE STATUTORY
     FINANCIAL LLC,TIN QUOC TRAN,               RESTRAINING ORDER,
     FRANCISCO STORY,FREDIRICK                   APPOINTMENT OF A TEMPORARY
     SAFRANKO,a/k/aTED SAFRANKO,                RECEIVER,AND OTHER
     SAEG CAPITAL GENERAL                       EQUITABLE RELIEF
     MANAGEMENT LP,and MICHAEL
     SHANNON SIMS,

      Defendants.
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Ca#e   1:23-mc-00491-UAD
     4:23-cv-00336        Document
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                                           02/17/23   Page 54
                                                on 02/06/23    of 71 PageID
                                                            in TXSD   Page 2#:of5419




           Plaintiff, the Commodity Futures Trading Commission ("Commission"), has filed a

    Complaint for Permanent Injunction and Other Relief and moved, pursuant to Section 6c(a) of the

    Commodity Exchange Act("Act"),7 U.S.C.§ 13a-1(a), and in accordance with Rule 65 ofthe Federal

   Rules of Civil Procedure ("Rule 65"), for an ex parte statutory restraining order freezing assets,

   allowing inspection of records, appointing a Temporary Receiver, and granting expedited discovery.

   The Court has considered the pleadings, declarations, exhibits, and memorandum filed in support of

   the Commission's motion, and finds that:

           1.     This Court has jurisdiction over this action under 28 U.S.C. § 1331 (federal question

   jurisdiction) and 28 U.S.C. § 1345 (district courts have original jurisdiction over civil actions

   commenced by the United States or by any agency expressly authorized to sue by Act of Congress).

   7 U.S.C. § 13a-l(a) authorizes the Commission to seek injunctive reliefagainst any person whenever

   it shall appear that such person has engaged, is engaging, or is about to engage in any act or practice

   that violates any provision ofthe Act or any rule, regulation, or order promulgated thereunder.

           2.     Venue lies properly within this District pursuant to 7 U.S.C. § 13a-1(e).

           3.     The Commission has made a proper primafacie showing that the Defendants violated

   the law as follows. Since at least April 2020 through the present, Marcus Brisco ("Brisco"), Yas

    Castellum LLC("Yas 1"), Yas Castellum Financial LLC("Yas 2"), Tin Tran ("Tran"), and Michael

    Sims("Sims") have operated three interconnected fraudulent schemes by soliciting and/or accepting

    more than $146 million from customers purportedly to trade leveraged or margined retail foreign

    currency exchange ("forex") and/or leveraged or margined gold-U.S. dollar pair ("XAUUSD")

   transactions ("retail commodity transactions"). Yas 1, Yas 2,and Brisco knowingly made jfraudulent

    and material misrepresentations and omissions about their historical trading profits, and regarding

    where they would maintain pool participant funds, how they would trade with those funds, and who

    would do the trading. In fact, Yas 1, Yas 2, Brisco, and Tran did not send any funds to a firm that
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                                            02/17/23   Page 55
                                                 on 02/06/23    of 71 PageID
                                                             in TXSD   Page 3#:of5519



   trades forex or XAUUSD. Instead, nearly all of the funds were directed to commodity pools

    controlled and operated by Tran (collectively, the "Tran Pools" and individually, "Tran-Pool 1",

   "Tran-Pool 2", and "Tran-Pool 3"), and Tran, Yas 2, and Brisco misappropriated a portion of the

   funds for other purposes. To conceal Yas I's scheme, Brisco provided pool participants with false

   account statements, and Sims directed Brisco to falsify wire transactions to disguise deposits as

   payments for "services". Further,to conceal Tran's scheme from regulators, Francisco Story and Ted

    Safranko, in their roles as directors and officers of SAEG Capital General Management LP("SAEG

    GM"), knowingly submitted falsified bank statements to the National Futures Association("NFA")

   for Tran-Pool 1 accounts during an examination ofSAEG GM. Yas 1, Yas 2, Brisco, and Tran failed

   to operate the commodity pools in accordance with Commission Regulations ("Regulations") that

   require a commodity pool to: operate as a legal entity separate from the Commodity Pool Operator

   ("CPO"), receive funds in the name of the pool, and prohibit the commingling of commodity pool

    property with the property of any other person. In addition, Yas 2 and Tran failed to register with the

    Commission as a CPO,and Brisco failed to register as an Associated Person("AP")of Yas 2.

           4.      Therefore, there is good cause to believe that Defendants have engaged in, are

    engaging in, or are about to engage in acts and practices in violation of the Act, 7 U.S.C.

    §§ 2(c)(2)(C)(iii)(I)(cc), 6b(a)(2)(A)-(C),6k(2),6m(l),6o(l)(A)-(B), and 13(a)(4), and Regulations

    17 C.F.R. §§ 4.20(a)(1),(b)-(c), 5.2(b)(l)-(3), and 5.3(a)(2)(2022).

           5.      There is also good cause to believe that immediate and irreparable damage to the

    Court's ability to grant effective final relief for customers in the form of monetary or other redress

    will occur from the withdrawal, transfer, removal, dissipation or other disposition offunds, assets or

    other property ("assets"), and/or the destruction, alteration or disposition of books and records and

    other documents ("records") by Defendants, unless Defendants are immediately restrained and

    enjoined by Order ofthe Court.


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                                           02/17/23   Page 56
                                                on 02/06/23    of 71 PageID
                                                            in TXSD   Page 4#:of5619



           6.      Therefore, there is good cause for the Court to freeze assets owned, controlled,

    managed or held by Defendants or in which they have any beneficial interest.

           7.      There is also good cause for the Court to prohibit Defendants from destroying, altering

   or disposing of records, and/or denying representatives ofthe Commission access to inspect records,

   when and as requested, to ensure that Commission representatives have immediate and complete

   access to those records.


           8.      There is also good cause for the appointment of a Temporary Receiver to take control

   ofall assets ovmed,controlled, managed,or held by Defendants, or in which they have any beneficial

   interest("Defendants' Assets"), so that the Temporary Receiver may preserve assets, investigate and

   determine customer claims, determine unlawful proceeds retained by Defendants and amounts due to

   customers as a result of Defendants' alleged violations, and distribute remaining funds under the

   Court's supervision.

           9.      There is also good cause to require an accounting by Defendants to the Temporary

   Receiver to determine the location and disposition of customer funds and ill-gotten gains.

           10.     There is also good cause to order repatriation of assets controlled by Defendants so

   that such assets can be controlled by the Temporary Receiver and to assure payment ofrestitution £ind

    disgorgement as authorized by the Court.

           11.     There is also good cause to remove the prohibition on early discovery to enable the

    Commission to determine the full extent of Defendants' wrongdoing (including, but not limited to,

   the possible involvement of others); to locate other pool participants; to identify and assess

    Defendants' entitlement to funds, assets and other property; and to clarify the sources offunds,assets,

    and other property in advance of a hearing to show cause as to why a preliminary injunction should

    not issue.


           12.     In summary, this is a proper case for granting a restraining order ex parte freezing

    assets, allowing inspection of records and appointing a temporary receiver, and granting expedited
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                                           02/17/23   Page 57
                                                on 02/06/23    of 71 PageID
                                                            in TXSD   Page 5#:of5719



    discovery because the Commission is likely to succeed on the merits. Moreover, there is also a

   reasonable likelihood that Defendants will transfer or dissipate assets or destroy or alter records.

     ACCORDINGLY,IT IS HEREBY ORDERED THAT:

                                               DEFINITIONS


           For the purposes ofthis Order,the following definitions apply:

           13.    The term "assets" encompasses any legal or equitable interest in, right to, or claim to,

   any real or personal property, whether individually or jointly, directly or indirectly controlled, and

   wherever located, including but not limited to: chattels, goods, instruments, equipment, fixtures,

   general intangibles, effects, leaseholds mail or other deliveries, inventory, checks, notes, accounts

   (including, but not limited to, bank accounts and accounts at other financial institutions), credits,

   receivables, lines of credit, contracts (including spot, futures, options, or swaps contracts), insurance

   policies, and all funds, wherever located, whether in the United States or outside the United States.

           14.    The term "records" encompasses"documents"and "electronically stored information"

   as those terms are used in Fed. R. Civ. P. 34(a), and includes, but is not limited to, all writings,

    drawings, graphs, charts, photographs, sound recordings, images, and other data or other data

   compilations—stored in any medium fiom which information can be obtained or translated, if

    necessary, into reasonable usable form. The term "records" also refers to each and every such item

   in Defendants' actual or constructive possession,including but not limited to:(i) all such items within

   the custody or control ofany agents, employers, employees, or partners ofthe Defendants; and (ii) all

   items which Defendants have a legal or equitable right to obtain from another person. A draft or non-

    identical copy is a separate item within the meaning ofthe term. A record also includes the file and

   folder tabs associated with each original and copy.

           15.    "Defendants" means and refers to Marcus Todd Brisco, Yas Castellum LLC, Yas

    Castellum Financial LLC, Tin Quoc Tran, Francisco Story, Fredirick Safranko a/k/a Ted Safranko,

    SAEG Capital General Management LP, and Michael Shannon Sims.
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                                           02/17/23   Page 58
                                                on 02/06/23    of 71 PageID
                                                            in TXSD   Page 6#:of5819



                                            RELIEF GRANTED


       1.    Asset Freeze Order Prohibiting the Withdrawal. Transfer, Removal, Dissipation, and
             Disposal of Assets

            16.   Defendants are immediately restrained and enjoined, except as otherwise ordered by

   this Court, from directly or indirectly withdrawing, transferring, removing, dissipating or otherwise

   disposing ofany assets, wherever located,including Defendants' assets held outside the United States,

   except as provided otherwise in Sections IV, V,and VI of this Order, or as otherwise ordered by the

   Court;

            17.   Notwithstanding the provisions of this Section I, at the request of the Temporary

   Receiver, Defendants and any other person who has possession, custody, or control of any of

   Defendants'funds, assets, or other property shall transfer possession ofall assets subject to this Order

   to the Temporary Receiver in accordance with Section IV, V,and VI ofthis Order.

            18.   The assets affected by this Order shall include existing assets and assets acquired after

   the effective date of this Order.

      II.    Maintenance of and Access to All Records Relating to the Business Activities and
             Business and Personal Finances

            19.   Defendants are restrained from directly or indirectly destroying, altering, or disposing

   of, in any manner any records that relate or refer to the business activities or business or personal

   finances of any Defendants.

            20.   Representatives of the Commission shall be immediately allowed to inspect any

   records that, in part or in whole, contain, relate, or refer to the business activities or business or

   personal finances of the Defendants, including, but not limited to, both hard-copy documents and

   electronically stored information, wherever they may be situated and whether they are in the

   possession ofthe Defendants or others. To ensure preservation and facilitate meaningful inspection

   and review ofthese records. Defendants shall allow representatives ofthe Commission to make copies

   ofthese records, including complete forensic images ofany devices containing any such records, and
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                                                on 02/06/23    of 71 PageID
                                                            in TXSD   Page 7#:of5919



   if on-site copying of these records and/or forensic imaging of these devices is not practicable,

   representatives may make such copies and/or forensic images off-site. After any such off-site copying

   and/or forensic imaging, Plaintiff shall promptly return the original documents and devices upon

    which electronic information is stored.

           21.    To further facilitate meaningful inspection and review. Defendants shall, absent a valid

   assertion of their respective rights against self-incrimination under the Fifth Amendment, promptly

   provide Commission staff with:

           a.     the location of all records relating or referring to the business activities and business

                  and personal finances ofthe Defendants;

           b.     all identification numbers and other identifying information for websites, cloud

                  storage services, email and smartphone accounts, online chat and messaging services,

                  and all accounts at any bank, financial institution, or brokerage firm (including any

                  introducing broker or futures commission merchant)owned,controlled or operated by

                   Defendants, or to which the Defendants have access; and,

           c.      all passwords to, and the location, make and model of, all computers and/or mobile

                   electronic devices owned and/or used by Defendants in connection with their business

                   activities and business and personal finances.

           22.     When inspecting and reviewing records and/or contents of forensic images that are

    subject to this Order, including those contained on computers and/or other devices, the Commission

    should undertake reasonable measures to prevent review of the Defendants' privileged

    communications and/or other nonbusiness, nonfinancial materials by the Commission's attorneys and

    other staff who are part ofthe litigation team in this matter. Moreover, Defendants(or their counsel)

    shall promptly contact Plaintiffs counsel to assert any claims of privilege or other legal objections

    relating to the inspection and review ofany records or contents offorensic images that are subject to

    this Order and promptly cooperate with Plaintiffs counsel to develop reasonable protocols to isolate
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                                                on 02/06/23    of 71 PageID
                                                            in TXSD   Page 8#:of6019



   and prevent disclosure of claimed privileged and/or other nonbusiness, nonfinancial materials to the

   Commission's attorneys and other staff who are part of the litigation team in this matter. However,

   nothing herein shall excuse Defendants from full and immediate compliance with this Court's Order

   permitting Plaintiff to inspect and review the records and contents offorensic images which relate to

   Defendants' business activities and their business and personal finances.

     III.    Notice to Financial Institutions and Others that Hold or Control Assets or Records

            23.   To ensure the effectiveness ofthe asset freeze and pending further Order ofthis Court,

   any financial or brokerage institution, business entity, or person that receives actual notice of this

   Order and holds, controls, or maintains custody of any account or asset or other property of

   Defendants shall not, in active concert or participation with Defendants, permit Defendants or other

   persons to withdraw, transfer, remove, dissipate, or otherwise dispose of any of Defendants' assets,

   except as directed by further order ofthe Court.

            24.   Any financial or brokerage institution, business entity, or person that receives notice

   of this Order by personal service or otherwise shall not, in active concert or participation with any

   Defendant, directly or indirectly destroy, alter, or dispose of, in any manner, any records relating to

   the business activities and business and personal finances of any Defendant.

            25.   Furthermore, any such financial or brokerage institution, business entity, or person

   that receives actual notice of this Order and holds, controls, or maintains custody of any account or

   asset titled in the name of, held for the benefit of, or otherwise under the control of any Defendants,

   or has held, controlled, or maintained custody of any such account or asset of any Defendants at any

   time since April 1, 2020, shall not, in active concert or participation with Defendants, deny a request

   by the Commission to inspect all records pertaining to every account or asset owned, controlled,

   managed, or held by, on behalf of, or for the benefit of Defendants, including, but not limited to,

   originals or copies ofaccount applications, account statements,signature cards,checks,drafts, deposit

   tickets, transfers to and from the accounts, all other debit and credit instruments or slips, currency
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                                            02/17/23   Page 61
                                                 on 02/06/23    of 71 PageID
                                                             in TXSD   Page 9#:of61
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   transaction reports, 1099 forms, and safe deposit box logs. As an alternative to allowing inspection

   ofrecords, a financial or brokerage institution, business entity or other person may provide copies of

   records requested by the Commission.

           26.      Furthermore, any such financial or brokerage institution, business entity, or person

   that receives actual notice of this Order shall:

                 a. Within ten business days of a request by the Temporary Receiver, or such longer

                    period specified by the Temporary Receiver, provide the Temporary Receiver with

                    copies of all records pertaining to any account or asset ovmed, controlled, managed,

                    or held by,on behalf of, or for the benefit of Defendants,either individually orjointly,

                    including, but not limited to, originals or copies of account applications, account

                    statements, signature cards, checks, drafts, deposit tickets, transfers to and from the

                    accounts, all other debit and credit instruments or slips, currency transaction reports,

                    1099 forms, and safe deposit box logs; and

                 b. Cooperate with all reasonable requests of the Temporary Receiver relating to

                    implementation of this Order, including transferring Defendants' funds at the

                    Temporary Receiver's direction, and producing records related to business activities

                    or business or personal finances ofDefendants' to the Temporary Receiver.

     IV.     Order Appointing Temporary Receiver

           27.      Kelly Crawford is appointed Temporary Receiver, with the full powers of an equity

    receiver for Defendants and their affiliates and subsidiaries owned or controlled by Defendants

   (hereinafter referred to as the "Receivership Defendants"), and of all the funds, properties, premises,

    accounts, income, now or hereafter due or owing to the Receivership Defendants, and other assets

    directly or indirectly owned, beneficially or otherwise, by the Receivership Defendants (hereinafter,

    the "Receivership Estate"). The Temporary Receiver shall be the agent of this Court in acting as

    Temporary Receiver under this Order.
                                                      -9-
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Cas     1:23-mc-00491-UAD
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                                              02/17/23  Page in
                                                  on 02/06/23 62TXSD
                                                                 of 71              PageID #: of
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          28.      The Temporary Receiver is directed and authorized to accomplish the following:

                a. Assume full control ofthe Receivership Defendants by removing Defendants Marcus

                   Todd Brisco, Tin Quoc Tran, Francisco Story, Fredirick Safranko a/k/a Ted Safranko,

                   and Michael Shannon Sims, and any officer, independent contractor, employee, or

                   agent ofthe Receivership Defendants,from control and management of the affairs of

                   the Receivership Defendants as the Temporary Receiver deems appropriate;

                b. Take exclusive custody, control, and possession of the Receivership Estate, which

                   includes but is not limited to complete authority to sue for, collect, receive, and take

                   possession of all goods, chattels, rights, credits, money, effects, land, leases, books,

                   records, work papers, and records of accounts, including electronically-stored

                   information, contracts, financial records, funds on hand in banks and other financial

                   institutions, and other papers and records of the Receivership Defendants and

                   customers or clients of any of Receivership Defendants' business activities whose

                   interests are now held by, or under the direction, possession, custody, or control of,

                   the Receivership Defendants;

                c. Take all steps necessary to secure the business and other premises under the control of

                   the Receivership Defendants, including but not limited to premises located at 23638

                   Providence Ridge Trail, Katy, TX, 15229 S Tall Woods Dr., Draper, UT, 13069 S.

                   Cannon View Dr., Herriman, UT, 1791 Piihana Rd., Wailuku, HI, 109-39 Wayside

                   Avenue, Scarborough, Ontario, Canada MlV 2Z4, 17201 Collins Ave Apt. 1404(or

                   Apt. 701), Sunny Isles Beach,FL,and 3300 Roswell Rd.NW Unit 4825, Atlanta, GA;

                d. Perform all acts necessary, including the suspension of operations, to conserve, hold,

                   manage, and preserve the value of the Receivership Estate in order to prevent an

                   irreparable loss, damage, or injury to any customers or clients of any of Receivership

                   Defendants' business activities;
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Cas     1:23-mc-00491-UAD
    3 4:23-cv-00336 *SEALED*Document 1 10
                              Document  FiledFiled
                                               02/17/23  Page in
                                                   on 02/06/23 63TXSD
                                                                  of 71          PageID #: of
                                                                                  Page 11  6319




              e. Prevent the withdrawal or misapplication of assets entrusted to the Receivership

                 Defendants, and otherwise protect the interests of any customers or clients of any of

                 Receivership Defendants' business activities;

              f. Manage and administer the Receivership Defendants and the Receivership Estate by

                 performing all acts incidental thereto that the Temporary Receiver deems appropriate,

                 including hiring or dismissing any and all personnel, suspending operations, and/or

                 entering into agreements, including but not limited to: (1) the retention and

                 employment of investigators, attorneys or accountants, appraisers, and other

                 independent contractors and technical specialists ofthe Temporary Receiver's choice,

                 including without limitation members and employees of the Temporary Receiver's

                 firm, to assist, advise, and represent the Temporary Receiver; and (2) the movement

                 and storage ofany equipment,furniture,records,files or other physical property ofthe

                 Receivership Defendants;

              g. Collect all funds owed to the Receivership Defendants;

              h. Initiate, defend, compromise, adjust, intervene in, dispose of, or become a party to,

                 any actions or proceedings in state, federal, or foreign court that the Temporary

                 Receiver deems necessary and advisable to preserve or increase the value of the

                 Receivership Estate or that the Temporary Receiver deems necessary and advisable to

                 carry out the Temporary Receiver's mandate under this Order;

              i. Issue subpoenas to obtain records pertaining to the Receivership and conduct

                 discovery in this action on behalf ofthe Receivership Estate;

             j. Open one or more bank accounts and deposit all funds of the Receivership Estate in

                 such designated accounts and make all payments and disbursements from the

                 Receivership Estate from such accounts;


                                                 - 11 -
  Case
Cas     1:23-mc-00491-UAD
    3 4:23-cv-00336 *SEALED*Document 1 10
                              Document  FiledFiled
                                               02/17/23  Page in
                                                   on 02/06/23 64TXSD
                                                                  of 71                PageID #: of
                                                                                        Page 12  6419




                  k. Make payments and disbursements from the Receivership Estate that are necessary or

                     advisable for carrying out the directions of, or exercising the authority granted by,this

                     Order, provided that the Temporary Receiver shall apply to the Court for prior

                     approval of any payment of any debt or obligation incurred by the Receivership

                     Defendants prior to the date of entry of this Order, except for payments that the

                     Temporary Receiver deems necessary or advisable to secure the Receivership Estate

                     from immediate and irreparable loss; and

                  1. Maintain written accounts itemizing receipts and expenditures, describing properties

                     held or managed, and naming the depositories holding funds or other assets of the

                     Receivership Estate; make such written accounts and supporting documentation

                     available to the Commission for inspection; and, within sixty days of being appointed

                     and periodically thereafter, as directed by the Court, file with the Court and serve on

                     the parties a report summarizing efforts to marshal and collect assets, administer the

                     Receivership Estate, and otherwise perform the duties mandated by this Order.

       V.    Accounting and Transfer of Funds and Records To The Temporary Receiver

            29.      Absent a valid assertion by Defendants of their respective rights against self-

    incrimination under the Fifth Amendment,each Defendant shall, within five business days following

    the service of this Order:

            a.       Provide the Temporary Receiver with a full detailed accounting ofall assets, including

                     the assets inside and outside of the United States that are held by each and every

                     Defendant,for their benefit, or under their direct or indirect control, whetherjointly or

                     singly, and the location of all records ofthe Receivership Estate.

            b.       Transfer to the territory of the United States and deliver to possession, custody, and

                     control of the Temporary Receiver, all records and assets (other than real property)


                                                        12
  Case
Cas     1:23-mc-00491-UAD
    3 4:23-cv-00336 *SEALED*Document 1 10
                              Document FiledFiled
                                              02/17/23  Page in
                                                  on 02/06/23 65TXSD
                                                                 of 71                PageID #: of
                                                                                       Page 13  6519




                   located outside of the United States that are held by each and every Defendants, for

                   their benefit, or under their direct or indirect control, whether jointly or singly.

            c.     Provide the Temporary Receiver access to all records of accounts or assets of the

                   Defendants held by financial or brokerage institutions located within or outside the

                   territorial United States by signing any necessary consent forms.

            30.    Absent a valid assertion by Defendants of their respective rights against self-

    incrimination under the Fifth Amendment,Defendants shall, within twenty-four hours ofthe issuance

    ofthis Order, cause to be prepared and delivered to the Temporary Receiver, a detailed and complete

    schedule of all passwords and identification (ID) numbers for all websites, cloud storage services,

    email and smartphone accounts, online chat and messaging services, and all accounts at any bank,

    financial institution, or brokerage firm (including any introducing broker or futures commission

    merchant)controlled or operated by or to which any ofthe Defendants have access in connection with

    their business activities and business and personal finances.

            31.    Absent a valid assertion by Defendants of their respective rights against self-

    incrimination under the Fifth Amendment,Defendants shall, within twenty-four hours ofthe issuance

    ofthis Order, cause to be prepared and delivered to the Temporary Receiver, a detailed and complete

    schedule ofall passwords to,and the location, make and model of,all computers and mobile electronic

    devices owned and/or used by Defendants in connection with their business activities and business

    and personal finances. The schedules required by this section shall include at a minimum the make,

    model and description of each, along with the location, the name ofthe person primarily assigned to

    use the computer and/or mobile device, and all passwords necessary to access and use the software

    contained on the computer and/or mobile device.

      VI.    Turning Over Assets and Records to the Temporary Receiver

            32.    Upon service of this Order, and absent a valid assertion by Defendants of their

    respective rights against self-incrimination under the Fifth Amendment, Defendants and any other
                                                     -13-
  Case
Cas     1:23-mc-00491-UAD
    3 4:23-cv-00336 *SEALED*Document 1 10
                              Document  FiledFiled
                                               02/17/23  Page in
                                                   on 02/06/23 66TXSD
                                                                  of 71               PageID #:of
                                                                                       Page 14  6619




    person or entity served with a copy ofthis Order, shall immediately or within such time as permitted

    by the Temporary Receiver in writing, deliver over to the Temporary Receiver:

            a.       Possession and custody of all assets of the Receivership Defendants, wherever

                     situated, including those owned beneficially or otherwise;

            b.       Possession and custody ofrecords ofthe Receivership Defendants in connection with

                     their business activities and business and personal finances, including but not limited

                     to,all records ofaccounts, all financial and accounting records, balance sheets,income

                     statements, bank records (including monthly statements, canceled checks, records of

                     wire transfers, Eind check registers), client lists, title documents and other records of

                     the Receivership Defendants;

            c.       Possession and custody of all assets belonging to members ofthe public now held by

                     the Receivership Defendants;

            d.       All keys, passwords, entry codes, and combinations to locks necessary to gain or to

                     secure access to any ofthe assets or records ofthe Receivership Defendants related to

                     their business activities and business and personal finances, including, but not limited

                     to, access to the Receivership Defendants' business premises, means of

                     communication, accounts, computer systems, mobile electronic devices, or other

                     property; and

            e.       Information identifying the accounts, employees, properties or other assets or

                     obligations ofthe Receivership Defendants.

     VII.        Directive To Cooperate with Temporary Receiver

            33.      Absent a valid assertion oftheir respective rights against self-incrimination under the

    Fifth Amendment, Defendants, and all other persons or entities served with a copy ofthis order shall

    cooperate fully with and assist the Temporary Receiver. This cooperation and assistance shall

    include, but not be limited to, providing any information to the Temporary Receiver that the
                                                      -14-
  Case
Cas     1:23-mc-00491-UAD
    3 4:23-cv-00336 *SEALED*Document 1 10
                              Document  FiledFiled
                                               02/17/23  Page in
                                                   on 02/06/23 67TXSD
                                                                  of 71              PageID #: of
                                                                                      Page 15  6719




    Temporary Receiver deems necessary to exercising the authority as provided in this Order; providing

    any password required to access any computer or electronic files in any medium; and discharging the

    responsibilities ofthe Temporary Receiver under this Order, and advising all persons who owe debts

    to the Receivership Defendants that all debts should be paid directly to the Temporary Receiver.

    VIII.    Stay on Actions Against the Receivership Defendants

            IT IS FURTHER ORDERED THAT:


            34.    Except by leave ofthe Court, during the pendency of the receivership ordered herein,

    the Defendants and all other persons and entities shall be and hereby are stayed from taking any action

    (other than the present action by the Commission)to establish or enforce any claim, right or interest

    for,against,on behalfof,in, or in the name of,the Receivership Defendants,the Temporary Receiver,

    the Receivership Estate, or the Temporary Receiver's duly authorized agents acting in their capacities

    as such, including but not limited to, the following actions:

            a.     Petitioning, or assisting in the filing of a petition, that would cause the Receivership

                   Defendants to be placed in bankruptcy;

            b.     Commencing, prosecuting, litigating, or enforcing any suit or proceeding against any

                   of the Receivership Defendants, or any of their subsidiaries or affiliates, except that

                   such actions may be filed to toll any applicable statute of limitations;

            c.     Commencing, prosecuting, continuing, or entering any suit or proceeding in the name

                   or on behalf of any of the Receivership Defendants, or any of their subsidiaries or

                   affiliates;

            d.     Accelerating the due date of any obligation or claimed obligation, enforcing any lien

                   upon,or taking or attempting to take possession of,or retaining possession of, property

                   of the Receivership Defendants, or any of their subsidiaries or affiliates, or any

                   property claimed by any ofthem, or attempting to foreclose, forfeit, alter, or terminate

                   any of the Receivership Defendants' interests in property, including without
                                                    -15-
  Case 1:23-mc-00491-UAD Document
Cas 3 4:23-cv-00336 *SEALED*
                                  1 10
                           Document FiledFiled
                                           02/17/23  Page in
                                               on 02/06/23 68TXSD
                                                              of 71 PageID #: of
                                                                     Page 16  6819




                     limitation, the establishment, granting, or perfection of any security interest, whether

                     such acts are part of a judicial proceeding or otherwise;

            e.       Using self-help or executing or issuing, or causing the execution or issuance of, any

                     court attachment, subpoena, replevin, execution, or other process for the purpose of

                     impounding or taking possession of or interfering with, or creating or enforcing a lien

                     upon any property, wherever located, owned by or in the possession of the

                     Receivership Defendants, or any of their subsidiaries or affiliates, or the Temporary

                     Receiver, or any agent of the Temporary Receiver; and

            f.       Doing any act or thing whatsoever to interfere with the Temporary Receiver taking

                     control, possession, or management of the property subject to the receivership, or to

                     in any way interfere with the Temporary Receiver or to harass or interfere with the

                     duties of the Temporary Receiver; or to interfere in any manner v«th the exclusive

                     jurisdiction ofthis Court over the property and assets ofthe Receivership Defendants,

                     or their subsidiaries or affiliates.

            Provided, however, that nothing in this section shall prohibit any federal or state law

    enforcement or regulatory authority from commencing or prosecuting an action against the

    Receivership Defendants.

      IX.        Compensation for Temporary Receiver and Personnel Hired bv the Temporarv
                 Receiver

            35.      The Temporary Receiver and all personnel hired by the Temporary Receiver as herein

    authorized,including counsel to the Temporary Receiver, are entitled to reasonable compensation for

    the performance of duties pursuant to this Order and for the cost of actual out-of-pocket expenses

    incurred by them for those services authorized by this Order that when rendered were: (1)reasonably

    likely to benefit the receivership estate; or(2)necessary to the administration ofthe estate. However,

    the Temporary Receiver and any personnel hired by the Temporary Receiver shall not be

                                                        -16-
  Case
Cas     1:23-mc-00491-UAD
    3 4:23-cv-00336 *SEALED*Document 1 10
                              Document  Filed 02/17/23
                                            Filed        Page in
                                                  on 02/06/23  69TXSD
                                                                  of 71             PageID #:of
                                                                                     Page 17  6919




    compensated or reimbursed by, or otherwise be entitled to, any funds from the Court or the

    Commission. The Temporary Receiver shall file with the Court and serve on the parties periodic

    requests for the payment of such reasonable compensation, with the first such request filed no more

    than sixty days after the date of this Order and subsequent requests filed quarterly thereafter. The

    requests for compensation shall itemize the time and nature of services rendered by the Temporary

    Receiver and all personnel hired by the Temporary Receiver.

       X.      Persons Bound By this Order

            36.      This Order is binding on any person who receives actual notice of this Order by

    personal service or otherwise and is acting in the capacity of an officer, agent, servant, employee, or

    attorney of the Defendants, or is in active concert or participation with the Defendants.

      XI.      Bond Not Required of Plaintiff or the Temporary Receiver

            37.      As Plaintiff Commission has made a proper showing under Section 6c(b) of the Act,

    7 U.S.C. § 13a-1(b), it is not required to post any bond in connection with this Order. The Temporary

    Receiver similarly is not required to post bond.

     XII.      Service of Order and Assistance of United States Marshals Service and/or Other Law
               Enforcement Personnel

            38.      Copies of this Order may be served by any means, including via email or facsimile

    transmission, upon any financial institution or other entity or person that may have possession,

    custody, or control of any records or assets of any Defendant, or that may be subject to any provision

    of this Order.


            39.      Alison B. Wilson, Sean P. Hennessy, Maura M. Viehmeyer, and Erica Bodin and

    representatives of the United States Marshals Service are specially appointed by the Court to effect

    service.


            40.      The United States Marshals Service is authorized to: a) accompany and assist the

    Commission representatives in the service and execution ofthe Summons, Complaint and this Order

                                                       -17-
  Case
Cas     1:23-mc-00491-UAD
    3 4:23-cv-00336 *SEALED*Document 1 10
                              Document  FiledFiled
                                               02/17/23   Page in
                                                   on 02/06/23 70TXSD
                                                                  of 71              PageID #:of
                                                                                      Page 18  7019




    on the Defendants, b) help maintain lawful order while Commission representatives inspect records

    as provided in this Order, and c) accompany and assist the Temporary Receiver and his

    representatives in the execution of this Order on the Receivership Defendants.

    XIII.    Service on the Commission

            41.    Defendants shall comply with all electronic filing rules and requirements ofthe U.S.

    District Court for the Southern District ofTexas and shall serve all pleadings,correspondence,notices

    required by this Order, and other materials on the Commission by delivering a copy to Alison B.

    Wilson, Chief Trial Attorney, Division of Enforcement, Commodity Futures Trading

    Commission, 1155 21st Street, N.W., Washington, D.C. 20581, by electronic filing, e-mail,

    personal delivery or courier service (such as Federal Express or United Parcel Service) and not by

    regular mail due to potential delay resulting from heightened security and decontamination

    procedures applicable to the Commission's regular mail.

    XIV.     Further Proceedings

            42.    Good cause having been shown and the burden for issuing a preliminary injunction

    having been met by the Commission, this Court hereby orders Defendants to show cause why a

    Preliminary Injunction should not issue. The Order to Show Cause is set for hearing on February

    22, 2023, at 10:00 a.m., before the Honorable Lee H. Rosenthal, Courtroom 11-B, at the United

    States Courthouse for the Southern District of Texas at 515 Rusk St., Houston, TX 77002. Should

    any party wish to file a memorandum oflaw or other papers concerning the issuance ofa preliminary

    injunction against the Defendants, such materials shall be filed, served, and received by all parties at

    least two full days before the hearing ordered above.

            43.    Plaintiffs request for expedited discovery is also granted. In advance of the hearing

    to show cause as to why a preliminary injunction should not issue, the parties may conduct expedited

    discovery, and the prohibition upon discovery before the early meeting of counsel pursuant to Rule

    26(f), in accordance with Rule 26(d), is removed. Depositions of parties and non-parties may be
                                                     -18-
  Case 1:23-mc-00491-UAD Document
Cas 3 4:23-cv-00336 *SEALED*
                                  1 10
                           Document  Filed 02/17/23
                                         Filed        Page in
                                               on 02/06/23 71TXSD
                                                              of 71 PageID #:of
                                                                     Page 19  7119




    taken subject to two calendar days' notice pursuant to Rule 30(a) and 45, that notice may be given

    personally, by facsimile, or by electronic mail, and, if necessary, any deposition may be taken

    remotely and last more than seven hours.

     XV.     Force and Effect

           44.     This Order shall remain in full force and effect until further order of this Court. This

    Court retains jurisdiction ofthis matter for all purposes.



         IT SO ORDERED,at Houston, Texas on this 6^ day of February, 2023, at 10:00 a.m.




                                                      UNITED STATES DISTRICT JUDGE




                                                      19
